          Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 1 of 49 Page ID #:435


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                 Telephone: 303.298.5700
            8    Facsimile: 303.298.5907
            9    Attorneys for Plaintiffs
                 ALLERGAN, INC. and ALLERGAN USA, INC.
          10
          11                           UNITED STATES DISTRICT COURT
          12                          CENTRAL DISTRICT OF CALIFORNIA
          13                                     WESTERN DIVISION
          14     ALLERGAN, INC. and ALLERGAN               CASE NO. 2:16−cv−08403 CBM (SSx)
                 USA, INC.,
          15                                               DECLARATION OF JARED
                                   Plaintiffs,             GREENBERG IN SUPPORT OF
          16                                               PLAINTIFFS ALLERGAN, INC. AND
                       v.                                  ALLERGAN USA, INC.’S MOTION
          17                                               FOR DEFAULT JUDGMENT AND
                 AMAZON MEDICA and DOES 1-10,              PERMANENT INJUNCTION
          18
                                   Defendants.             [Notice of Motion and Motion for Default
          19                                               Judgment and Permanent Injunction, and
                                                           Proposed Order Granting Motion for
          20                                               Default Judgment and Permanent
                                                           Injunction filed concurrently herewith]
          21
          22                                               Hearing:
                                                           Date:      July 31, 2018
          23                                               Time:      10:00 a.m.
                                                           Place:     Courtroom 8B, 8th Floor
          24                                               Judge:     Hon. Consuelo B. Marshall
          25
          26
          27
          28

Gibson, Dunn &
Crutcher LLP
                 DECLARATION OF JARED GREENBERG IN SUPPORT OF PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                                             AND PERMANENT INJUNCTION
          Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 2 of 49 Page ID #:436


            1                          DECLARATION OF JARED GREENBERG
            2          I, Jared Greenberg, declare as follows:
            3          1.        I am an attorney admitted to practice before this Court. I am an associate
            4    in the law firm of Gibson, Dunn & Crutcher LLP, and I am one of the attorneys
            5    responsible for the representation of Plaintiffs Allergan, Inc. and Allergan USA, Inc.
            6    (collectively, “Allergan”) in the above-captioned matter. I submit this declaration in
            7    support of Allergan’s Motion for Default Judgment and Permanent Injunction. Unless
            8    otherwise indicated, I have personal knowledge of the foregoing and could and would
            9    testify to the same if called as a witness in this matter. The exhibits referenced below
          10     are attached to this declaration.
          11           2.        Attached hereto as Exhibit A is a true and correct copy of a letter from
          12     Moniker Privacy Services, LLC listing David Wagenleiter as the owner, administrator,
          13     and technical contact for www.amazonmedica.com.
          14           3.        Attached hereto as Exhibit B is a true and correct copy of a table from the
          15     Royal Mail Group Ltd, listing 2,866 consignments sent by Mudan Pharma Limited to
          16     the United States. Tracking numbers, recipient names, and recipient addresses have
          17     been redacted to protect the recipients’ identifying information.
          18           4.        Attached hereto as Exhibit C is a true and correct copy of part of a letter
          19     from Bitrix Inc. listing David Wagenleiter as a contact person for Amazon Medica.
          20           5.        Allergan’s Motion for Default Judgment and Permanent Injunction
          21     complies with Fed. R. Civ. P. 55(b), and pursuant to Local Rule 55-1:
          22                i.   On March 29, 2018, the Clerk of Court entered the default of Amazon
          23                     Medica (Dkt. No. 32).
          24             ii.     The default was entered for Amazon Medica’s failure to plead or
          25                     otherwise defend Allergan’s Complaint.
          26            iii.     On information and belief, Amazon Medica is not an infant or
          27                     incompetent person.
          28

Gibson, Dunn &                                                  2
Crutcher LLP
                 DECLARATION OF JARED GREENBERG IN SUPPORT OF PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                                             AND PERMANENT INJUNCTION
          Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 3 of 49 Page ID #:437


            1           iv.   On information and belief, Amazon Medica is not exempt under the
            2                 Servicemembers Civil Relief Act (50 U.S.C. App. § 521).
            3           v.    Rule 55(b)(2) does not require that notice be served on Amazon Medica
            4                 because it never appeared personally or by representative.
            5          I declare under penalty of perjury under the laws of the United States that the
            6    foregoing is true and correct, and that this declaration was executed on June 21, 2018,
            7    at Denver, Colorado.
            8
                                                                      Jared Greenberg
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Gibson, Dunn &                                              3
Crutcher LLP
                 DECLARATION OF JARED GREENBERG IN SUPPORT OF PLAINTIFFS’ MOTION FOR DEFAULT JUDGMENT
                                             AND PERMANENT INJUNCTION
Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 4 of 49 Page ID #:438




                     EXHIBIT A




                                   EXHIBIT A
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February 2, 2017

Allergan, Inc. and Allergan USA, Inc.                                    Civil Action No. 2:16-cv-08403-CBM-SSx

v                                                                        Moniker Privacy Services, LLC
                                                                         Subpoena Response
Amazon Medica and Does 1-10

REQUEST NO.1:

All DOCUMENTS and COMMUNICATIONS RELATED TO 4 www.amazonmedica.com and / or AMAZON MEDICA
including, but not limited to:
a) DOCUMENTS IDENTIFYING the owner, administrator, technical contact, server, name servers, and any listed names,
addresses, email addresses, IP addresses, and telephone numbers RELATED TO the website www.amazonmedica.com;

Answer: NO SUCH DOCUMENTS EXIST

b) Payment information including the names, addresses, and account numbers of the financial institutions used for payment
of YOUR services, and copies of cancelled checks or other forms of payment; and any agreements, transaction records, and
/ or payment records between YOU and AMAZON MEDICA.

Answer: NO SUCH DOCUMENTS EXIST

REQUEST NO.2:
All DOCUMENTS and COMMUNICATIONS RELATED TO 7322160 CANADA INC., including, but not limited to, any
agreements, transactions, and / or payments between YOU and 7322160 CANADA INC.

Answer: NO SUCH DOCUMENTS EXIST

REQUEST N0. 3:
All DOCUMENTS and COMMUNICATIONS RELATED TO REJUVE GROUP including, but not limited to, any
agreements, transactions, and/or payments between YOU and REJUVE GROUP.

Answer: ALTHOUGH NO SUCH DOCUMENTS EXIST, we will provide the following information:

Our privacy service was activated for the domain name anonymousemail.me on 2016-03-29. We are not in direct
contractual relationship with the registrant. Our service was ordered and paid through the registrar
Key-Systems GmbH,Im Oberen Werk 1, 66386 Sr. Ingbert via their reseller Leaseweb, Luttenbergweg 8, 1101 EC
Amsterdam support@nl.leaseweb.com.

The Owner / Administrator / Technical Contact under the privacy is as follows:
first_name: David, Last_name: Wagenleiter, street: Jalan Nusa, Taman Duta 6, city
 Kuala Lumpur, zip 50480, country MY, phone +60(0)147101127, email: david@wagenleiter.com


For further information please contact the reseller or the registrar directly.

Respectfully Submitted,


Stevan Lieberman
Moniker General Council




                                                        EXHIBIT A
                                                         Page 5
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                     EXHIBIT B




                                   EXHIBIT B
                                    Page 6
                                                                              Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 7 of 49 Page ID #:441
                          Item          Gross       Destin Invoice                                                                                                                        Consignee     Collection   Delivery
Ref Number   Date         s     Weight value        ation number       Invoice date Consignee Name            Consignee Address - 1      Consignee Address - 2    Consignee Address - 3   Address - 4     track       Track
             14/10/2014       1     1.8      31.9   USA      9048549168 10/11/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             20/10/2014       2    5.05    46.07    USA      9048549168 10/11/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             30/10/2014       4    9.91    60.36    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             03/11/2014       4    9.11    58.77    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             03/11/2014       1    2.28    34.01    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             06/11/2014       8   18.79    80.19    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             24/11/2014       3    8.34    55.59    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             27/11/2014       8      20    82.67    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             28/11/2014       7   21.25    86.38    USA      9048744808 08/12/2014                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/12/2014       4    9.79    60.36    USA      9048928029 05/01/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/12/2014       4    9.46    58.77    USA      9048928029 05/01/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             12/12/2014       8    19.7    82.67    USA      9048928029 05/01/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/01/2015       8   19.18    81.43    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/01/2015       4    9.91    60.36    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             13/01/2015       8   18.95    80.19    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       8    18.1    78.95    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       4    9.12    58.77    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       1    3.14    38.19    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       1    2.35    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             15/01/2015       1    2.35    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             16/01/2015       2     5.9    47.66    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             16/01/2015       1    3.75      40.3   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             19/01/2015       8   18.88    80.19    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             19/01/2015       4    9.08    58.77    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             22/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             22/01/2015       1       2      31.9   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             22/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             22/01/2015       1    4.72    44.49    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1     3.6      40.3   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1    6.23    49.25    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1    3.85      40.3   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             23/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             26/01/2015      15   36.87 124.72      USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             26/01/2015       8   18.31    78.95    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             26/01/2015       1    2.28    34.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             26/01/2015       1    3.38    38.19    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             27/01/2015       8   19.09    81.43    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             27/01/2015       4    9.49    58.77    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             27/01/2015      12    28.6 104.93      USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             28/01/2015       1    3.85      40.3   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             28/01/2015       7   16.06    74.01    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             29/01/2015       8   19.07    81.43    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             29/01/2015       1       2      31.9   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             29/01/2015       1    2.55      36.1   USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             30/01/2015       2    4.56    44.49    USA      9049152476 09/02/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             03/02/2015       1    8.22    55.59    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1     2.1    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.48    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.38    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.28    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.28    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.38    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       4   11.36    63.34    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       8   18.74    80.19    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    6.51    50.83    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    3.75      40.3   USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             05/02/2015       1    2.28    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             06/02/2015       1    3.85      40.3   USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             06/02/2015       1     2.1    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             06/02/2015       1    6.75    50.83    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/02/2015       1    2.28    34.01    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             09/02/2015       1    3.62      40.3   USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             10/02/2015       1    8.32    55.59    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             10/02/2015       1    3.85      40.3   USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             12/02/2015       8   18.32    78.95    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             12/02/2015       4    9.12    58.77    USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
             12/02/2015       8   29.08 106.17      USA      9049359080 09/03/2015                #N/A                       #N/A                       #N/A                     #N/A         #N/A        #N/A        #N/A
                                                                                                                  EXHIBIT B
                                                                                                                   Page 7
                                                         Case 2:16-cv-08403-CBM-SS Document 33-1 Filed 06/21/18 Page 8 of 49 Page ID #:442

12/02/2015   1    3.75     40.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/02/2015   1    3.85     40.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/02/2015   1    2.15    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/02/2015   1    2.09    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/02/2015   1    2.28    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2015   1    2.45    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2015   1    2.55     36.1   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2015   3   14.16     69.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2015   2    10.6    62.34   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2015   2   10.98    62.34   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   8   24.09     93.8   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.05    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    3.65     40.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    3.85     40.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.38    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.28    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    3.39    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    1.97     31.9   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.28    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.93     36.1   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/02/2015   1    2.28    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2015   8   25.31    96.27   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2015   4   12.51    66.32   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2015   9   27.03   101.22   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   2   17.27    76.49   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   1    2.48    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   1    2.38    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   2    4.78    44.49   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   1    3.07    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   1    3.07    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/02/2015   2    5.45    46.07   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1    3.38    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1   17.54    77.72   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1    2.92     36.1   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1    1.51     31.9   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1    2.28    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/02/2015   1    3.49    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/02/2015   1   11.86    64.33   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/02/2015   1   11.86    64.33   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   1    5.01    46.07   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   1    9.27    58.77   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   1    1.45    29.58   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   1    8.84    57.18   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   2   12.18    65.32   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   2    25.3    96.27   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   8   65.56   196.45   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   4   30.53   109.87   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2015   1    9.82    60.36   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    3.28    38.19   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    2.69     36.1   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    2.02    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    3.75     40.3   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1     7.8    54.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    2.38    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2015   1    2.38    34.01   USA   9049359080   09/03/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2015   1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2015   1     2.1    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2015   5   21.34    86.38   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2015   1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2015   1    3.75     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2015   4   12.28    65.32   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2015   8   24.66    95.04   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2015   4   12.28    65.32   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/03/2015   3   27.49   101.22   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/03/2015   1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/03/2015   1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/03/2015   1    2.35    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/03/2015   8   24.76    95.04   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015   1    1.45    29.58   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015   1    2.48    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015   1    3.93     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015   1   13.45    67.31   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                            EXHIBIT B
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09/03/2015    1    3.04    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015    1    3.17    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/03/2015   16   49.72   156.88   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    15.6    72.77   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.04    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    9.87    60.36   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    4.72    44.49   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    4.97    44.49   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.04    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    2.04    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    3.17    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    1    3.17    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/03/2015    8   25.66    97.51   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2015    1    2.04    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2015    4   12.25    65.32   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2015   18   55.22   170.48   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    6   29.83   107.41   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    1    2.06    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    1    2.26    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    1       4     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    1    2.35    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/03/2015    8    30.3   108.64   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/03/2015    1       1    27.24   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/03/2015    1    8.39    55.59   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/03/2015    1    1.35    29.58   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/03/2015    1       2     31.9   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2015    1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2015    1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2015    1    3.17    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2015    7   21.69    87.62   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/03/2015    1    3.17    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2015    3   22.35    88.86   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2015    3   22.59    90.08   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/03/2015    1    7.29    52.42   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/03/2015    4   56.04   172.95   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/03/2015    1    4.87    44.49   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1      15     70.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.38    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    3.28    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    3.07    38.19   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.42    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    6.51    50.83   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.48    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    6.37    49.25   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    4.86    44.49   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1   16.07    74.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    8.57    57.18   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1   13.85     68.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/03/2015    1     3.8     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/03/2015    8   24.86    95.04   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/03/2015    3   22.76    90.08   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/03/2015    4   30.29   108.64   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2015    1    2.28    34.01   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2015    1    3.94     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2015    1    3.71     40.3   USA   9049558184   06/04/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2015   10   32.01   113.59   USA   9049741089   04/05/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2015    2    7.29    52.42   USA   9049741089   04/05/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/04/2015    2    6.98    50.83   USA   9049741089   04/05/2015          #N/A                       #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                             EXHIBIT B
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02/04/2015    1    3.71     40.3   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/04/2015    1    3.85     40.3   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/04/2015    1    3.71     40.3   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2015    4   30.12   108.64   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2015    4   30.29   108.64   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2015    1      15     70.3   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    3    9.21    58.77   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    3    9.31    58.77   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2015    1    7.53    54.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    1    2.38    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015    1    3.07    38.19   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015    1   12.93    66.32   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015    1    2.35    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015   11   78.77   228.61   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/04/2015    2    8.62    57.18   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1    2.52     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1    3.07    38.19   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1     4.7    44.49   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/04/2015    1    2.38    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2015    7   39.19    130.9   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2015    7   38.95   129.67   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    1    2.93     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    1    2.93     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    8   24.53    95.04   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    1     4.7    44.49   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    1    1.92     31.9   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2015    3   15.05    71.53   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1   17.06    76.49   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1    4.87    44.49   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    2   11.69    64.33   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1    3.07    38.19   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1     4.1    42.39   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1    2.49    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/04/2015    1    2.92     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2015    6   38.98   129.67   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2015    6    38.1   128.43   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/04/2015    1    3.07    38.19   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2015    1    3.74     40.3   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2015    1    2.38    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/04/2015   10   57.86   176.66   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/04/2015    1    2.38    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/04/2015    1    2.69     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/04/2015    1    2.28    34.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/04/2015    5   34.75   119.78   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2015    1    2.93     36.1   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/04/2015    6   37.86   127.19   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/04/2015    1    7.53    54.01   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2015    1    7.44    52.42   USA   9049741089   04/05/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    1    3.07    38.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    5   75.99   221.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    1    8.65    57.18   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/04/2015    7   39.42    130.9   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/05/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/05/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/05/2015    1    17.9    77.72   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/05/2015    1    5.77    47.66   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2015    1    6.51    50.83   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2015    4   30.12   108.64   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2015    4   30.29   108.64   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2015    1    17.9    77.72   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2015    1    2.38    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                             EXHIBIT B
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05/05/2015   10   60.76   184.08   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2015    1    4.87    44.49   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/05/2015    1    3.17    38.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/05/2015    1    3.85     40.3   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/05/2015    1     4.2    42.39   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/05/2015    1    3.07    38.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/05/2015    2   22.91    90.08   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/05/2015    1    2.38    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/05/2015    1    5.07    46.07   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/05/2015    4   30.12   108.64   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/05/2015    4   30.04   108.64   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/05/2015    2    9.34    58.77   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/05/2015    1    2.45    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/05/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2015    1    2.42    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/05/2015    9   29.81   107.41   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/05/2015    1    17.9    77.72   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/05/2015    1    6.53    50.83   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/05/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/05/2015    1    3.17    38.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2015    1    7.71    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2015    1    3.75     40.3   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2015    4   29.88   107.41   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2015    8   24.69    95.04   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2015    1    6.32    49.25   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/05/2015    1    8.22    55.59   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2015    1    4.87    44.49   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/05/2015   10   34.81   119.78   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/05/2015    3   53.42   165.53   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/05/2015    1    5.08    46.07   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/05/2015    1    2.26    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/05/2015    1    2.05    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/05/2015    1    3.17    38.19   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/05/2015    1    2.29    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/05/2015    1    8.65    57.18   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    1    4.87    44.49   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    1    5.15    46.07   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    1    4.51    44.49   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    1    3.85     40.3   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    1    4.07    42.39   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    4    39.4    130.9   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2015    3   22.35    88.86   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2015    1    7.53    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    2.18    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    7.87    54.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    6.33    49.25   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    5   64.98   193.98   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/05/2015    1    2.25    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/05/2015    1    2.38    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/05/2015    1    2.28    34.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/05/2015    2   16.06    74.01   USA   9049971235   08/06/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/06/2015    1     7.7    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/06/2015    1    2.05    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2015    1    3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/06/2015    1    3.88     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/06/2015    1    8.27    55.59   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/06/2015    1    3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/06/2015    9   28.98   104.93   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/06/2015    1    2.18    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/06/2015    1    2.66     36.1   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/06/2015    1    2.81     36.1   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/06/2015    1    3.17    38.19   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/06/2015    1    3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/06/2015    1    3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2015    1    2.28    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                             EXHIBIT B
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09/06/2015    1     7.53    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/06/2015    1     2.28    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/06/2015    1     7.53    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/06/2015    1     2.27    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/06/2015    1     2.28    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/06/2015   16   113.98   315.19   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/06/2015    1     3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/06/2015    1     8.26    55.59   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/06/2015    1     3.17    38.19   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2015    1     2.38    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/06/2015    1     3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/06/2015    1     2.61     36.1   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/06/2015    1     5.99    47.66   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/06/2015    2     19.5    81.43   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/06/2015    1     2.38    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/06/2015    1     3.07    38.19   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/06/2015    1     4.63    44.49   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/06/2015    9    46.92   149.46   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2015    1     3.75     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/06/2015    1      7.7    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/06/2015    3    26.71    99.98   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/06/2015    1     2.28    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/06/2015    1     3.85     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/06/2015    8    25.17    96.27   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/06/2015    1     7.44    52.42   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/06/2015    1    13.66     68.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/06/2015    1     2.28    34.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/06/2015    1     3.85     40.3   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/06/2015    1     1.49    29.58   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/06/2015    1     4.07    42.39   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/06/2015    1     7.93    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/06/2015    1     7.53    54.01   USA   9050161385   06/07/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/07/2015    1     2.38    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/07/2015    1     7.53    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/07/2015    1     7.53    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/07/2015    1     3.75     40.3   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/07/2015    1     3.85     40.3   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/07/2015    1     6.05    49.25   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/07/2015    1     3.07    38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/07/2015    1     8.14    55.59   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/07/2015    4    12.81    66.32   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/07/2015    1     2.38    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/07/2015    1     2.38    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/07/2015    1     3.75     40.3   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/07/2015    1     2.38    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/07/2015    1     3.75     40.3   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/07/2015    2     8.62    57.18   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/07/2015    1     3.17    38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/07/2015    1     3.97     40.3   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/07/2015    1      4.9    44.49   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1      7.7    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     7.53    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     3.07    38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     7.53    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/07/2015    1     2.38    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/07/2015    1     2.63     36.1   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1      7.7    54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    2    18.65    80.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    2     5.35    46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     3.07    38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     2.28    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     2.28    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    2     5.35    46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    1     3.07    38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    2     5.55    47.66   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/07/2015    2     5.21    46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    1     2.28    34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    4    12.51    66.32   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    2      8.7    57.18   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    1     1.25    29.58   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    2     5.45    46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015    2     5.45    46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
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20/07/2015   1    4.29   42.39   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015   2    5.35   46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015   2    5.35   46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/07/2015   1    7.53   54.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/07/2015   1    2.28   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/07/2015   2    9.04   58.77   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/07/2015   1    4.29   42.39   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/07/2015   1    2.53    36.1   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/07/2015   1    2.28   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    2.38   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   2    5.55   47.66   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    4.41   42.39   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   2    5.45   46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    4.41   42.39   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    4.52   44.49   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    2.28   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/07/2015   1    1.92    31.9   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/07/2015   1     4.3   42.39   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/07/2015   1    4.86   44.49   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/07/2015   1     2.5   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/07/2015   1     2.4   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/07/2015   1    6.05   49.25   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/07/2015   1    2.28   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/07/2015   2    5.45   46.07   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/07/2015   1    2.38   34.01   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/07/2015   1    3.07   38.19   USA   9050397202   10/08/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/07/2015   1    6.12   49.25   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/07/2015   1    6.12   49.25   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   2    7.25   52.42   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    8.46   55.59   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1     8.8   57.18   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    2.71    36.1   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    4.47   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/07/2015   1    3.04   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/07/2015   1    4.26   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/07/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/07/2015   1    4.26   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/08/2015   1     7.7   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/08/2015   1    3.17   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/08/2015   4    12.8   66.32   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/08/2015   1    2.48   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/08/2015   1    2.48   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1     7.7   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1     7.7   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/08/2015   1    3.85    40.3   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/08/2015   4    15.1   71.53   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/08/2015   1    4.08   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   1   12.56   66.32   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   5   24.17    93.8   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   1    2.52    36.1   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
                                                                                            Page 13
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13/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/08/2015   1    4.41   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/08/2015   1    3.17   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   2    9.81   60.36   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/08/2015   1    4.08   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   1    3.07    53.2   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/08/2015   1    4.08   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/08/2015   1    3.28   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   2    9.83   60.36   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/08/2015   1    4.29   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   2    7.36   52.42   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   1    3.17   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/08/2015   5   16.57   75.25   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/08/2015   1    4.29   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/08/2015   1      15    70.3   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/08/2015   1    4.04   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   2    10.6   62.34   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    3.07   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    2.45   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    2.63    36.1   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/08/2015   2    5.45   46.07   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1     6.8   50.83   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    6.62   50.83   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    6.62   50.83   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/08/2015   1    2.35   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/08/2015   1     2.9    36.1   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1   11.09   63.34   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1    6.44   49.25   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1    2.38   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   1    2.28   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   8   25.09   96.27   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/08/2015   1    2.48   34.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1    4.41   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1    7.53   54.01   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   1    3.38   38.19   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   1    6.84   50.83   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/08/2015   2   26.84   99.98   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   1    4.29   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   1    2.69    36.1   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/08/2015   1    4.26   42.39   USA   9050581230   07/09/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/09/2015   5   21.45   86.38   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/09/2015   1    3.75    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/09/2015   1    7.53   54.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/09/2015   1    3.85    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/09/2015   1    4.07   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/09/2015   1    9.36   58.77   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/09/2015   1    4.41   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/09/2015   1   14.76    70.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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04/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/09/2015   1    4.07   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/09/2015   1    3.85    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/09/2015   1       9   57.18   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/09/2015   1    8.41   55.59   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/09/2015   5   17.62   77.72   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/09/2015   1   16.31   74.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/09/2015   1    3.65    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/09/2015   1    3.85    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1   11.09   63.34   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1    3.65    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1    9.18   58.77   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/09/2015   1    2.77    36.1   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/09/2015   1    6.56   50.83   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/09/2015   1    5.58   47.66   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/09/2015   1    7.29   52.42   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/09/2015   1    3.85    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/09/2015   1    3.13   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    7.53   54.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    6.17   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    6.33   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/09/2015   1    2.42   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    5.96   47.66   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    4.26   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    3.97    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    2.35   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    2.43   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    2.48   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    4.19   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    4.41   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    9.83   60.36   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/09/2015   1   13.59    68.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    4.29   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    6.24   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/09/2015   1    4.29   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/09/2015   1    6.22   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/09/2015   1    4.29   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/09/2015   1    2.52    36.1   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    4.41   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/09/2015   1    4.29   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/09/2015   1    4.63   44.49   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/09/2015   1    2.48   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    8.27   55.59   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/09/2015   1    4.41   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/09/2015   1    4.29   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    6.17   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    7.53   54.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    6.17   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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24/09/2015   1    3.04   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/09/2015   1    6.33   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/09/2015   1    3.07   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/09/2015   1    3.38   38.19   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/09/2015   1    4.75   44.49   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/09/2015   1    6.33   49.25   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/09/2015   1    2.93    36.1   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/09/2015   1    2.38   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/09/2015   1    3.85    40.3   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    6.17   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/09/2015   2   15.84   72.77   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    5.96   47.66   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/09/2015   1    4.26   42.39   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/09/2015   1    2.28   34.01   USA   9050764884   05/10/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    5.96   47.66   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/10/2015   1    6.56   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    4.41   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1    5.95   47.66   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/10/2015   1   14.68    70.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/10/2015   1    2.38   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/10/2015   1    6.17   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/10/2015   1    7.02   52.42   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/10/2015   1    2.28   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    6.39   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    3.94    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/10/2015   1    2.28   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    3.07   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    6.77   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    2.48   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    6.39   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/10/2015   1    6.11   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    4.15   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   4   14.64    70.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    3.04   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1   23.58   92.56   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    6.17   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/10/2015   1    4.04   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    4.26   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/10/2015   1    4.26   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/10/2015   1    4.26   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/10/2015   1    2.28   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    5.96   47.66   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    2.28   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    6.12   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    6.79   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    6.01   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    6.39   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    4.72   44.49   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/10/2015   1    4.29   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/10/2015   1    2.28   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/10/2015   1    2.38   34.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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22/10/2015   1    2.55    36.1   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    6.56   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/10/2015   1   14.27    69.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/10/2015   1    4.14   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    6.56   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    3.75    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    2.95    36.1   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    4.26   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/10/2015   1    4.35   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    8.86   57.18   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    6.17   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    3.75    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    4.29   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/10/2015   1    3.75    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/10/2015   1    7.53   54.01   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/10/2015   1    3.85    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/10/2015   1    4.29   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1     5.9   47.66   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/10/2015   1    5.08   46.07   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    4.29   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    2.71    36.1   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    6.13   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    6.11   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    4.08   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/10/2015   1    3.38   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    3.25   38.19   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    2.93    36.1   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    5.95   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    3.94    40.3   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    4.19   42.39   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    6.56   50.83   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/10/2015   1    6.01   49.25   USA   9050985105   09/11/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/11/2015   1    4.26   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/11/2015   1    4.19   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/11/2015   1    2.28   34.01   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/11/2015   1    6.39   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/11/2015   1    5.08   46.07   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/11/2015   1    4.26   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    5.95   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    6.56   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1   16.15   74.01   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.85    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1   14.41    69.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1     1.7    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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05/11/2015   1    1.68    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    3.07   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1     1.7    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1    6.11   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1    5.75   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/11/2015   1    1.62    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/11/2015   3   17.65   77.72   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/11/2015   2   13.24   67.31   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/11/2015   1    3.85    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    6.17   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    6.11   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    5.95   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/11/2015   1    4.08   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    17.9   77.72   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/11/2015   1    1.68    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    4.19   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    6.84   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/11/2015   1    6.56   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    4.08   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1     5.9   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    6.17   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1       4    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    4.41   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/11/2015   1    6.61   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/11/2015   1    4.26   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    4.08   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    1.68    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    1.71    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/11/2015   1    1.71    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/11/2015   1    1.68    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    6.22   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.75    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    6.17   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   4   13.65    68.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    6.56   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    3.85    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    6.56   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    6.56   50.83   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    1.89    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
                                                                                            Page 18
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20/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    5.95   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    4.29   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    6.17   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/11/2015   1    8.09   55.59   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/11/2015   1    1.79    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1    2.95    36.1   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/11/2015   1    4.14   42.39   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    7.53   54.01   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/11/2015   1   10.72   62.34   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    5.75   47.66   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    6.11   49.25   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    3.62    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    3.94    40.3   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1    9.22   58.77   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1    8.65   57.18   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1    3.38   38.19   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1     1.7    31.9   USA   9051174098   07/12/2015          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/11/2015   1    6.39   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    1.76    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   8   24.28    93.8   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    3.97    40.3   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/12/2015   1    3.85    40.3   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    7.53   54.01   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    8.56   57.18   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    6.17   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    6.33   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    6.56   50.83   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    6.11   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1       8   54.01   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    6.17   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/12/2015   1    6.62   50.83   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    4.63   44.49   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.33   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/12/2015   1    4.41   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/12/2015   1    3.85    40.3   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/12/2015   1    7.53   54.01   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/12/2015   2   23.75   92.56   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/12/2015   1       2    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.12   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.55   50.83   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1   15.65   72.77   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.56   50.83   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.19   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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10/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1     5.9   47.66   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1   19.99   82.67   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    6.17   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/12/2015   1    4.41   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/12/2015   1    6.33   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/12/2015   1    4.63   44.49   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/12/2015   1    4.14   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/12/2015   1    6.56   50.83   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    1.71    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/12/2015   1    6.33   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1     1.8    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/12/2015   1   11.51   64.33   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    6.22   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    4.41   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    6.39   49.25   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/12/2015   1    7.53   54.01   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/12/2015   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/12/2015   1    1.68    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/12/2015   1    1.61    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/12/2015   1    7.02   52.42   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/12/2015   1    3.38   38.19   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/12/2015   1    4.29   42.39   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/12/2015   1    2.78    36.1   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/12/2015   1    1.79    31.9   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/12/2015   1    4.87   44.49   USA   9051342522   04/01/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    6.56   50.83   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    5.96   47.66   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    1.68    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1     5.9   47.66   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    5.96   47.66   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    6.33   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   2    9.55   60.36   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    0.55   27.24   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    4.26   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    4.26   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1     1.7    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    6.12   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1    4.26   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1     1.7    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/01/2016   1     1.7    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   1    5.96   47.66   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   1    6.79   50.83   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   5   18.32   78.95   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   1    3.07   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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08/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/01/2016   1    3.75    40.3   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/01/2016   1    3.94    40.3   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/01/2016   1     4.1   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/01/2016   1    4.07   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    4.08   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    6.33   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1     1.8    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    6.33   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    4.52   44.49   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    1.71    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    9.36   58.77   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/01/2016   1    3.51    40.3   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/01/2016   1    6.33   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/01/2016   1    4.51   44.49   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    3.85    40.3   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/01/2016   1    4.08   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   3   12.99   66.32   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/01/2016   1    9.04   58.77   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/01/2016   1    6.39   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/01/2016   1     1.8    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/01/2016   1    4.51   44.49   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    5.96   47.66   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1     3.2   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.56   50.83   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    2.15   34.01   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    2.34   34.01   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.56   50.83   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.17   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    6.01   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    2.15   34.01   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    4.14   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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28/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/01/2016   1     0.5    24.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   3    8.55   57.18   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    4.41   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    4.29   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    3.38   38.19   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    2.15   34.01   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    6.12   49.25   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    4.35   42.39   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/01/2016   1    1.79    31.9   USA   9051555335   08/02/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/02/2016   1    1.68    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.22   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.01   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.33   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   3    8.55   57.18   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.17   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.17   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    6.39   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/02/2016   1    3.94    40.3   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1    3.07   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1   15.19   71.53   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1    2.15   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/02/2016   1    7.93   54.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/02/2016   1    6.61   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/02/2016   1    3.07   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/02/2016   1    6.12   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   2    6.76   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   2    6.76   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   1    1.68    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   1    4.14   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/02/2016   1    2.15   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    5.96   47.66   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    6.12   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    6.12   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1     2.4   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1     1.6    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/02/2016   1     1.7    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/02/2016   1    9.05   58.77   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/02/2016   1    3.65    40.3   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/02/2016   1    3.06   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    6.12   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2016   1    5.01   46.07   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2016   1    6.01   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/02/2016   1    8.58   57.18   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    5.75   47.66   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    1.68    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    6.17   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    3.51    40.3   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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18/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    4.47   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1     5.9   47.66   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    5.96   47.66   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1    4.63   44.49   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/02/2016   1     1.9    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    3.51    40.3   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    6.56   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    2.47   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1     2.2   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    4.59   44.49   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/02/2016   1    6.55   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/02/2016   1    6.05   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/02/2016   1    4.08   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/02/2016   1    4.41   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.79   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    4.29   42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    4.29   42.39   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.33   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.33   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.79   50.83   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    5.96   47.66   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.01   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    6.39   49.25   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/02/2016   1    2.34   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2016   1    2.34   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2016   1    1.86    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/02/2016   1    2.15   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/02/2016   1    1.79    31.9   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    4.14   42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/02/2016   1    3.38   38.19   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/02/2016   1    2.15   34.01   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/02/2016   1    4.29   42.39   USA   9051742812   07/03/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    14.4    69.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    2.15   34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    2.15   34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    1.68    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2016   1    3.75    40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    6.33   49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    3.51    40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    6.33   49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2016   1    4.87   44.49   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2016   5   15.44   71.53   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/03/2016   3    8.55   57.18   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    6.33   49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    4.29   42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/03/2016   1    6.17   49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    5.96   47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/03/2016   1    2.15   34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/03/2016   1    4.14   42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/03/2016   2    6.76   50.83   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/03/2016   2    6.76   50.83   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    2.71    36.1   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1     2.4   34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
                                                                                            Page 23
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08/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    3.59     40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    1.68     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/03/2016   1    2.34    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    6.01    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   2   17.28    76.49   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    5.96    47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    1.68     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    2.15    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    6.17    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    6.39    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    4.08    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    6.12    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    2.34    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/03/2016   1    6.56    50.83   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/03/2016   1    4.37    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/03/2016   1   27.01   101.22   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/03/2016   1    4.26    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/03/2016   1    3.51     40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/03/2016   1    6.39    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/03/2016   1    2.78     36.1   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    3.75     40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    3.85     40.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    1.68     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    6.33    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    5.96    47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   4   13.52     68.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    2.15    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   2    6.76    50.83   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    3.38    38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.71     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    2.15    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    2.15    34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    6.11    49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    4.41    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    5.96    47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    5.96    47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1   14.59     70.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/03/2016   1    4.29    42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2016   1    1.79     31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                            EXHIBIT B
                                                                                             Page 24
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23/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    6.17   49.25   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    5.69   47.66   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    6.56   50.83   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1   10.62   62.34   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1    3.38   38.19   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/03/2016   1   10.62   62.34   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   4   13.52    68.3   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   1    2.15   34.01   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   1    4.29   42.39   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/03/2016   1    2.54    36.1   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
30/03/2016   1    1.79    31.9   USA   9051921705   04/04/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.41   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    6.39   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    7.51   54.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.41   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1     0.4    24.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    6.39   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    4.47   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/03/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1   10.33   61.35   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
01/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/04/2016   4   13.52    68.3   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/04/2016   1    8.21   55.59   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/04/2016   1    8.26   55.59   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/04/2016   1    4.87   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    3.85    40.3   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    4.51   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.88   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    4.85   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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14/04/2016   1    6.56   50.83   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/04/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/04/2016   1    6.74   50.83   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
12/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1    3.75    40.3   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1    6.79   50.83   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    5.98   47.66   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    6.39   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    6.39   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    4.63   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2016   1    6.33   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2016   1    1.68    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2016   1     6.6   50.83   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2016   1       1   27.24   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/04/2016   1     1.7    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    1.39   29.58   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    6.56   50.83   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/04/2016   1   11.19   63.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    6.01   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    6.12   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    1.68    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    6.17   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    6.33   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    5.96   47.66   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    3.94    40.3   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   2    7.67   54.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    11.4   63.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1   10.05   61.35   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
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22/04/2016   1    4.63   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    4.51   44.49   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    6.22   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    4.41   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    4.29   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/04/2016   1    2.34   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    6.22   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    3.75    40.3   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    6.22   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    6.01   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1   10.88   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    2.15   34.01   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    1.89    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    6.01   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
28/04/2016   1    4.14   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    4.08   42.39   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1     1.7    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1   10.62   62.34   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    6.39   49.25   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    3.38   38.19   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
29/04/2016   1    1.79    31.9   USA   9052137531   09/05/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    3.97    40.3   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/05/2016   1    1.81    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/05/2016   3    8.47   55.59   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/05/2016   3    8.68   57.18   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/05/2016   1     1.6    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1   10.58   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/05/2016   1    2.53    36.1   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    3.94    40.3   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
04/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    0.77   27.24   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    4.35   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    4.08   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    1.03   29.58   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
05/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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06/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    4.19   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/05/2016   1    6.56   50.83   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    6.12   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/05/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   2   15.17   71.53   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   1    4.08   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
11/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.92   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    5.96   47.66   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    6.12   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    6.33   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   11.17   63.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    5.96   47.66   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    6.17   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1     1.6    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1     2.2   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    4.26   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1     1.6    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1     1.7    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   4   19.04   81.43   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   4   26.41   98.75   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    2.34   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/05/2016   1    4.19   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/05/2016   1    4.41   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
18/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
19/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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19/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    1.61    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/05/2016   1   11.19   63.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    4.14   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    1.61    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/05/2016   1    1.61    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1    4.14   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/05/2016   1    6.38   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1    4.47   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
24/05/2016   1   10.88   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1     6.6   50.83   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
25/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    3.94    40.3   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    6.39   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1   10.88   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
26/05/2016   1    6.22   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1    1.68    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    6.39   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    1.71    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    1.79    31.9   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    3.38   38.19   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
27/05/2016   1    2.15   34.01   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1   10.88   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1    6.01   49.25   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1   10.62   62.34   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
31/05/2016   1    4.29   42.39   USA   9052313375   06/06/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    4.29   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   5   18.96   80.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    6.17   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    1.61    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    4.08   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
02/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2016   1    6.39   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2016   1     2.6    36.1   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
03/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/06/2016   1    8.43   55.59   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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06/06/2016   1    4.51   44.49   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/06/2016   1    6.61   50.83   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
06/06/2016   1    1.79    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
07/06/2016   1   10.92   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    1.79    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
08/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1   11.19   63.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    6.33   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    4.19   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   4   13.78    68.3   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    3.38   38.19   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
09/06/2016   1    2.34   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/06/2016   1    6.33   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/06/2016   1    1.79    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
10/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/06/2016   1    4.08   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1   13.08   67.31   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
13/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/06/2016   1    4.29   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1   11.17   63.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
15/06/2016   1    3.75    40.3   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/06/2016   1    3.85    40.3   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
14/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1    1.61    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   2   16.79   75.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
16/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1    6.05   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
17/06/2016   1    6.22   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   12.05   65.32   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.33   61.35   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   13.08   67.31   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
20/06/2016   1   13.99    68.3   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2016   1   10.88   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1    6.01   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
21/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
22/06/2016   1    1.79    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
23/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A   #N/A   #N/A   #N/A
                                                                                           EXHIBIT B
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23/06/2016   1    4.29   42.39   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1    1.61    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1    6.33   49.25   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   4   13.52    68.3   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1   11.14   63.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1   10.33   61.35   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
24/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1   13.08   67.31   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
23/06/2016   1    1.61    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
24/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
24/06/2016   1   19.24   81.43   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
24/06/2016   1    1.71    31.9   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
24/06/2016   1    2.15   34.01   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
27/06/2016   1   10.92   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
28/06/2016   1    5.64   47.66   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
28/06/2016   1   10.62   62.34   USA   9052501188   04/07/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
30/06/2016   1   10.91   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
29/06/2016   1    6.83   50.83   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
01/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1     4.3   42.39   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
05/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   13.08   67.31   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1    4.29   42.39   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1   13.08   67.31   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
04/07/2016   1    1.79    31.9   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   13.08   67.31   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
06/07/2016   1    1.68    31.9   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
06/07/2016   1    2.15   34.01   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1     2.4   34.01   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   10.88   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1   10.92   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1    1.61    31.9   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
07/07/2016   1    2.34   34.01   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
08/07/2016   1   10.88   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
08/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
08/07/2016   1    1.71    31.9   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
08/07/2016   1    1.71    31.9   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
08/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016          #N/A                        #N/A                       #N/A          #N/A      #N/A      #N/A         #N/A
11/07/2016   2   14.76    70.3   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   14/07/2016
12/07/2016   1    1.61    31.9   USA   9052715963   08/08/2016                                                                                      US        12/07/2016   15/07/2016
11/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   14/07/2016
11/07/2016   1   13.08   67.31   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   14/07/2016
11/07/2016   1   13.08   67.31   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   15/07/2016
11/07/2016   1    2.34   34.01   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   15/07/2016
11/07/2016   1    1.68    31.9   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   15/07/2016
11/07/2016   3   10.27   61.35   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   14/07/2016
11/07/2016   1    1.55    31.9   USA   9052715963   08/08/2016                                                                                      US        11/07/2016   14/07/2016
13/07/2016   1    1.55    31.9   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   18/07/2016
13/07/2016   1    4.19   42.39   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   18/07/2016
13/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   17/07/2016
13/07/2016   1    4.29   42.39   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   18/07/2016
13/07/2016   1    1.61    31.9   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   18/07/2016
13/07/2016   1    2.95    36.1   USA   9052715963   08/08/2016                                                                                      US        13/07/2016   16/07/2016
14/07/2016   1   10.88   62.34   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   18/07/2016
14/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   18/07/2016
14/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   21/07/2016
14/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      LONDON    14/07/2016   08/08/2016
14/07/2016   1   10.62   62.34   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   18/07/2016
14/07/2016   1    3.65    40.3   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   05/08/2016
14/07/2016   1   10.88   62.34   USA   9052715963   08/08/2016                                                                                      US        14/07/2016   18/07/2016
15/07/2016   1   11.17   63.34   USA   9052715963   08/08/2016                                                                                      US        15/07/2016   19/07/2016
                                                                                           EXHIBIT B
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21/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
15/07/2016   1    1.97     31.9   USA   9052715963   08/08/2016                                                                               US   15/07/2016   20/07/2016
15/07/2016   1    3.38    38.19   USA   9052715963   08/08/2016                                                                               US   15/07/2016   19/07/2016
15/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   15/07/2016   20/07/2016
15/07/2016   1    1.71     31.9   USA   9052715963   08/08/2016                                                                               US   15/07/2016   18/07/2016
18/07/2016   1    4.41    42.39   USA   9052715963   08/08/2016                                                                               US   18/07/2016   25/07/2016
18/07/2016   1    4.19    42.39   USA   9052715963   08/08/2016                                                                               US   18/07/2016   21/07/2016
21/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
18/07/2016   1    7.07    52.42   USA   9052715963   08/08/2016                                                                               US   18/07/2016   21/07/2016
18/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   18/07/2016   22/07/2016
18/07/2016   1    3.52     40.3   USA   9052715963   08/08/2016                                                                               US   18/07/2016   21/07/2016
19/07/2016   1    6.22    49.25   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
19/07/2016   1    4.29    42.39   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
21/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
19/07/2016   1    8.44    55.59   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
19/07/2016   1    6.39    49.25   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
19/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
19/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   19/07/2016   22/07/2016
20/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   20/07/2016   23/07/2016
21/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
21/07/2016   2   14.87     70.3   USA   9052715963   08/08/2016                                                                               US   21/07/2016   22/07/2016
21/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   21/07/2016   24/07/2016
21/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
21/07/2016   1   13.49    67.31   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016

21/07/2016   1    1.79     31.9   USA   9052715963   08/08/2016                                                                               US   21/07/2016   25/07/2016
21/07/2016   1   12.41    65.32   USA   9052715963   08/08/2016                                                                               US   21/07/2016   26/07/2016
21/07/2016   1    5.03    46.07   USA   9052715963   08/08/2016                                                                               US   21/07/2016   26/07/2016
22/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   22/07/2016   25/07/2016
22/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   22/07/2016   25/07/2016
22/07/2016   1       4     40.3   USA   9052715963   08/08/2016                                                                               US   22/07/2016   26/07/2016
22/07/2016   1    3.25    38.19   USA   9052715963   08/08/2016                                                                               US   22/07/2016   25/07/2016
22/07/2016   1    1.79     31.9   USA   9052715963   08/08/2016                                                                               US   22/07/2016   26/07/2016
22/07/2016   1    7.01    52.42   USA   9052715963   08/08/2016                                                                               US   22/07/2016   26/07/2016
22/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   22/07/2016   26/07/2016
22/07/2016   1    2.15    34.01   USA   9052715963   08/08/2016                                                                               US   22/07/2016   27/07/2016
22/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   22/07/2016   26/07/2016
22/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   22/07/2016   25/07/2016
27/07/2016   2    6.76    50.83   USA   9052715963   08/08/2016                                                                               US   27/07/2016   01/08/2016
25/07/2016   2   28.44   103.69   USA   9052715963   08/08/2016                                                                               US   25/07/2016   28/07/2016
25/07/2016   1   10.58    62.34   USA   9052715963   08/08/2016                                                                               US   25/07/2016   01/08/2016
25/07/2016   1   11.14    63.34   USA   9052715963   08/08/2016                                                                               US   25/07/2016   30/07/2016
25/07/2016   1    3.75     40.3   USA   9052715963   08/08/2016                                                                               US   25/07/2016   29/07/2016
25/07/2016   1    6.24    49.25   USA   9052715963   08/08/2016                                                                               US   25/07/2016   28/07/2016
25/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   25/07/2016   28/07/2016

25/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   25/07/2016   29/07/2016
25/07/2016   1   13.08    67.31   USA   9052715963   08/08/2016                                                                               US   25/07/2016   01/08/2016
26/07/2016   1    2.15    34.01   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
26/07/2016   1    2.54     36.1   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
26/07/2016   1    1.81     31.9   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
26/07/2016   1    1.79     31.9   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
26/07/2016   1    11.4    63.34   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
26/07/2016   1    2.15    34.01   USA   9052715963   08/08/2016                                                                               US   26/07/2016   29/07/2016
28/07/2016   1   11.17    63.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   02/08/2016
28/07/2016   1   11.19    63.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   03/08/2016
28/07/2016   1    2.15    34.01   USA   9052715963   08/08/2016                                                                               US   27/07/2016   01/08/2016
29/07/2016   1    3.38    38.19   USA   9052715963   08/08/2016                                                                               US   29/07/2016   02/08/2016
27/07/2016   1   16.27    74.01   USA   9052715963   08/08/2016                                                                               US   27/07/2016   02/08/2016

01/08/2016   1   14.09     69.3   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
28/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
28/07/2016   1   10.62    62.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
28/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
28/07/2016   1    6.01    49.25   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
28/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   28/07/2016   02/08/2016
28/07/2016   1    5.82    47.66   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
28/07/2016   1    1.79     31.9   USA   9052715963   08/08/2016                                                                               US   28/07/2016   01/08/2016
29/07/2016   1   10.88    62.34   USA   9052715963   08/08/2016                                                                               US   29/07/2016   02/08/2016
29/07/2016   1    6.22    49.25   USA   9052715963   08/08/2016                                                                               US   29/07/2016   02/08/2016

29/07/2016   1    2.25    34.01 USA     9052715963   08/08/2016                                                                               US   29/07/2016 02/08/2016
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29/07/2016   1    3.38   38.19   USA   9052715963   08/08/2016                                                                               US   29/07/2016   03/08/2016
29/07/2016   1    4.96   44.49   USA   9052715963   08/08/2016                                                                               US   29/07/2016   02/08/2016
29/07/2016   1   11.14   63.34   USA   9052715963   08/08/2016                                                                               US   29/07/2016   02/08/2016
01/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
04/08/2016   1   11.19   63.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
02/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
02/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   01/08/2016   06/08/2016
02/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
02/08/2016   1    4.08   42.39   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
02/08/2016   1    4.08   42.39   USA   9052888389   05/09/2016                                                                               US   01/08/2016   08/08/2016
03/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   03/08/2016   08/08/2016
04/08/2016   1   11.14   63.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
04/08/2016   1    4.19   42.39   USA   9052888389   05/09/2016                                                                               US   03/08/2016   08/08/2016
04/08/2016   1    6.39   49.25   USA   9052888389   05/09/2016                                                                               US   03/08/2016   08/08/2016
03/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   03/08/2016   06/08/2016
03/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   03/08/2016   08/08/2016
04/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   10/08/2016
04/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   04/08/2016   09/08/2016
04/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
04/08/2016   1   10.91   62.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   09/08/2016
04/08/2016   1   11.19   63.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   05/08/2016
04/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   09/08/2016
04/08/2016   2   17.05   76.49   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
04/08/2016   1    3.75    40.3   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
04/08/2016   1    6.01   49.25   USA   9052888389   05/09/2016                                                                               US   04/08/2016   08/08/2016
04/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   07/08/2016
04/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   04/08/2016   10/08/2016
05/08/2016   2    6.76   50.83   USA   9052888389   05/09/2016                                                                               US   05/08/2016   08/08/2016
05/08/2016   2    6.76   50.83   USA   9052888389   05/09/2016                                                                               US   05/08/2016   09/08/2016
05/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   05/08/2016   10/08/2016
05/08/2016   1    4.63   44.49   USA   9052888389   05/09/2016                                                                               US   05/08/2016   10/08/2016
05/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   05/08/2016   09/08/2016
05/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   05/08/2016   09/08/2016
08/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   20/05/2016   11/08/2016
05/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   05/08/2016   08/08/2016
05/08/2016   1    3.85    40.3   USA   9052888389   05/09/2016                                                                               US   05/08/2016   10/08/2016
08/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   08/08/2016   12/08/2016
08/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   08/08/2016   12/08/2016
08/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   08/08/2016   11/08/2016

08/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   08/08/2016   11/08/2016
08/08/2016   1    6.36   49.25   USA   9052888389   05/09/2016                                                                               US   08/08/2016   12/08/2016
08/08/2016   1    3.85    40.3   USA   9052888389   05/09/2016                                                                               US   08/08/2016   12/08/2016
10/08/2016   1    6.01   49.25   USA   9052888389   05/09/2016                                                                               US   10/08/2016   15/08/2016
11/08/2016   1    7.55   54.01   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
09/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   09/08/2016   11/08/2016

11/08/2016   1   11.14   63.34   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
10/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   10/08/2016   12/08/2016
11/08/2016   1    1.04   29.58   USA   9052888389   05/09/2016                                                                               US   10/08/2016   13/08/2016
10/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   10/08/2016   13/08/2016
10/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   10/08/2016   13/08/2016
11/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
11/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
11/08/2016   1   11.14   63.34   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
11/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016

11/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
11/08/2016   2   15.92   72.77   USA   9052888389   05/09/2016                                                                               US   11/08/2016   15/08/2016
12/08/2016   2    8.51   57.18   USA   9052888389   05/09/2016                                                                               US   12/08/2016   16/08/2016
12/08/2016   2    6.76   50.83   USA   9052888389   05/09/2016                                                                               US   12/08/2016   15/08/2016
12/08/2016   1    4.29   42.39   USA   9052888389   05/09/2016                                                                               US   12/08/2016   16/08/2016
12/08/2016   1    4.51   44.49   USA   9052888389   05/09/2016                                                                               US   12/08/2016   17/08/2016
12/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   12/08/2016   17/08/2016
12/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   12/08/2016   16/08/2016
15/08/2016   1   11.14   63.34   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
15/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
15/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
15/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
15/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   15/08/2016   19/08/2016
15/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
15/08/2016   1    6.22   49.25   USA   9052888389   05/09/2016                                                                               US   15/08/2016   18/08/2016
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16/08/2016   1   13.38   67.31   USA   9052888389   05/09/2016                                                                               US   16/08/2016   19/08/2016
18/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
16/08/2016   1    2.34   34.01   USA   9052888389   05/09/2016                                                                               US   16/08/2016   19/08/2016
16/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   16/08/2016   19/08/2016
16/08/2016   1     2.2   34.01   USA   9052888389   05/09/2016                                                                               US   16/08/2016   19/08/2016
17/08/2016   2    6.93   50.83   USA   9052888389   05/09/2016                                                                               US   17/08/2016   20/08/2016
18/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
18/08/2016   1    3.38   38.19   USA   9052888389   05/09/2016                                                                               US   17/08/2016   23/08/2016
17/08/2016   1    3.38   38.19   USA   9053108954   10/10/2016                                                                               US   17/08/2016   23/08/2016
17/08/2016   1    3.38   38.19   USA   9053108954   10/10/2016                                                                               US   17/08/2016   23/08/2016
17/08/2016   1    3.38   38.19   USA   9052888389   05/09/2016                                                                               US   17/08/2016   22/08/2016
17/08/2016   1    3.51    40.3   USA   9053108954   10/10/2016                                                                               US   17/08/2016   22/08/2016
17/08/2016   1    3.38   38.19   USA   9053108954   10/10/2016                                                                               US   17/08/2016   22/08/2016
17/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   17/08/2016   20/08/2016
18/08/2016   1    4.08   42.39   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
18/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
18/08/2016   1   11.17   63.34   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
18/08/2016   1    4.68   44.49   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
18/08/2016   1   11.46   63.34   USA   9052888389   05/09/2016                                                                               US   18/08/2016   22/08/2016
19/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   19/08/2016   23/08/2016
19/08/2016   1    4.41   42.39   USA   9052888389   05/09/2016                                                                               US   19/08/2016   23/08/2016
19/08/2016   1    2.07   34.01   USA   9052888389   05/09/2016                                                                               US   19/08/2016   24/08/2016
19/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   19/08/2016   23/08/2016
19/08/2016   1    4.08   42.39   USA   9052888389   05/09/2016                                                                               US   19/08/2016   23/08/2016
22/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   22/08/2016   25/08/2016
22/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   22/08/2016   26/08/2016
22/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   22/08/2016   26/08/2016
22/08/2016   1     2.2   34.01   USA   9052888389   05/09/2016                                                                               US   22/08/2016   25/08/2016
22/08/2016   1    6.22   49.25   USA   9052888389   05/09/2016                                                                               US   22/08/2016   25/08/2016
22/08/2016   1    1.68    31.9   USA   9052888389   05/09/2016                                                                               US   22/08/2016   26/08/2016
23/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   23/08/2016   29/08/2016
23/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   23/08/2016   29/08/2016
23/08/2016   1    2.88    36.1   USA   9052888389   05/09/2016                                                                               US   23/08/2016   26/08/2016
23/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   23/08/2016   26/08/2016
23/08/2016   1    1.79    31.9   USA   9052888389   05/09/2016                                                                               US   23/08/2016   26/08/2016
23/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   23/08/2016   26/08/2016
23/08/2016   1   12.36   65.32   USA   9052888389   05/09/2016                                                                               US   23/08/2016   27/08/2016
23/08/2016   1   10.88   62.34   USA   9052888389   05/09/2016                                                                               US   23/08/2016   29/08/2016
25/08/2016   1   11.14   63.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   30/08/2016
25/08/2016   1   11.19   63.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1   10.91   62.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   30/08/2016
25/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
26/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   26/08/2016   31/08/2016
26/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
25/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1    4.07   42.39   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   2   19.47   81.43   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1     4.6   44.49   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016

25/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1    2.64    36.1   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1    2.15   34.01   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1    2.34   34.01   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
25/08/2016   1    1.68    31.9   USA   9052888389   05/09/2016                                                                               US   25/08/2016   29/08/2016
26/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
26/08/2016   1   11.77   64.33   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
26/08/2016   1    2.34   34.01   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
26/08/2016   1   10.33   61.35   USA   9052888389   05/09/2016                                                                               US   26/08/2016   31/08/2016
26/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
26/08/2016   1    2.25   34.01   USA   9052888389   05/09/2016                                                                               US   26/08/2016   02/09/2016
26/08/2016   1   10.91   62.34   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
26/08/2016   1    1.71    31.9   USA   9052888389   05/09/2016                                                                               US   26/08/2016   30/08/2016
31/08/2016   1    2.34   34.01   USA   9052888389   05/09/2016                                                                               US   31/08/2016   08/09/2016
31/08/2016   1   13.08   67.31   USA   9052888389   05/09/2016                                                                               US   31/08/2016   08/09/2016
01/09/2016   1     5.5   46.07   USA   9053108954   10/10/2016                                                                               US   01/09/2016   07/09/2016

01/09/2016   1     5.6   47.66   USA   9053108954   10/10/2016                                                                               US   01/09/2016   06/09/2016
31/08/2016   1   10.62   62.34   USA   9052888389   05/09/2016                                                                               US   31/08/2016   07/09/2016
02/09/2016   2   14.87    70.3   USA   9053108954   10/10/2016                                                                               US   02/09/2016   07/09/2016
01/09/2016   1   13.38   67.31   USA   9053108954   10/10/2016                                                                               US   01/09/2016   06/09/2016
01/09/2016   1    4.08   42.39   USA   9053108954   10/10/2016                                                                               US   01/09/2016   06/09/2016
01/09/2016   1   10.92   62.34   USA   9053108954   10/10/2016                                                                               US   01/09/2016   06/09/2016
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01/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
01/09/2016   1   11.19   63.34   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
01/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
02/09/2016   1    1.15   29.58   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016
02/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016
01/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
02/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     02/09/2016   06/09/2016
01/09/2016   1   10.33   61.35   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
01/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
01/09/2016   1    4.97   44.49   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
01/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US     01/09/2016   06/09/2016
02/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016

02/09/2016   1    1.68    31.9   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016
02/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016
02/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016
02/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     02/09/2016   07/09/2016

05/09/2016   1   10.33   61.35   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     05/09/2016   06/09/2016
05/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     05/09/2016   09/09/2016
05/09/2016   1    4.19   42.39   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1    4.19   42.39   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   11.19   63.34   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
05/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     05/09/2016   08/09/2016
06/09/2016   2    19.3   81.43   USA   9053108954   10/10/2016                                                                                    0 06/09/2016   10/09/2016
06/09/2016   1   10.33   61.35   USA   9053108954   10/10/2016                                                                               US     06/09/2016   08/09/2016
06/09/2016   1     2.8    36.1   USA   9053108954   10/10/2016                                                                               US     06/09/2016   09/09/2016
07/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US     07/09/2016   12/09/2016
07/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US     07/09/2016   12/09/2016
08/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
09/09/2016   1   12.75   66.32   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   2    6.76   50.83   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
09/09/2016   2    6.76   50.83   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1    1.68    31.9   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1   10.58   62.34   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1   10.84   62.34   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
08/09/2016   1    6.39   49.25   USA   9053108954   10/10/2016                                                                               US     08/09/2016   12/09/2016
09/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US     09/09/2016   17/09/2016
09/09/2016   1    4.29   42.39   USA   9053108954   10/10/2016                                                                               US     09/09/2016   13/09/2016
09/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     09/09/2016   14/09/2016
09/09/2016   2   17.22   76.49   USA   9053108954   10/10/2016                                                                               US     09/09/2016   13/09/2016
09/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     09/09/2016   13/09/2016
09/09/2016   1    6.22   49.25   USA   9053108954   10/10/2016                                                                               US     09/09/2016   13/09/2016
09/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     09/09/2016   12/09/2016
12/09/2016   1    6.22   49.25   USA   9053108954   10/10/2016                                                                               US     12/09/2016   17/09/2016
12/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     12/09/2016   17/09/2016
12/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     12/09/2016   17/09/2016
12/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US     12/09/2016   17/09/2016
13/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US     13/09/2016   16/09/2016
13/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US     13/09/2016   16/09/2016
13/09/2016   1     6.6   50.83   USA   9053108954   10/10/2016                                                                               US     13/09/2016   16/09/2016
13/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US     13/09/2016   16/09/2016
13/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US     13/09/2016   16/09/2016
14/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US     14/09/2016   17/09/2016
14/09/2016   2   15.78   72.77   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
14/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
14/09/2016   2   14.18    69.3   USA   9053108954   10/10/2016                                                                               US     14/09/2016   20/09/2016
14/09/2016   1    6.65   50.83   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
14/09/2016   1   11.14   63.34   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
14/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
14/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US     14/09/2016   19/09/2016
16/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     16/09/2016   20/09/2016
15/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     15/09/2016   19/09/2016
15/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     15/09/2016   19/09/2016
15/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US     15/09/2016   19/09/2016
                                                                                           EXHIBIT B
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15/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   15/09/2016   20/09/2016
15/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   15/09/2016   19/09/2016
16/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   16/09/2016   19/09/2016
15/09/2016   1    6.65   50.83   USA   9053108954   10/10/2016                                                                               US   15/09/2016   20/09/2016
16/09/2016   1   10.92   62.34   USA   9053108954   10/10/2016                                                                               US   16/09/2016   21/09/2016
16/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   16/09/2016   19/09/2016
16/09/2016   1    8.79   57.18   USA   9053108954   10/10/2016                                                                               US   16/09/2016   19/09/2016
16/09/2016   1    1.71    31.9   USA   9053108954   10/10/2016                                                                               US   16/09/2016   21/09/2016
16/09/2016   1    6.22   49.25   USA   9053108954   10/10/2016                                                                               US   16/09/2016   19/09/2016
16/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   16/09/2016   20/09/2016
16/09/2016   1    1.68    31.9   USA   9053108954   10/10/2016                                                                               US   16/09/2016   19/09/2016
17/09/2016   1   11.19   63.34   USA   9053108954   10/10/2016                                                                               US   20/09/2016   22/09/2016
19/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
19/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
19/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   19/09/2016   23/09/2016
19/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US   19/09/2016   23/09/2016
20/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   20/09/2016   23/09/2016
19/09/2016   1    2.34   34.01   USA   9053108954   10/10/2016                                                                               US   19/09/2016   26/09/2016
19/09/2016   1     1.4   29.58   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
19/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
19/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
19/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   19/09/2016   22/09/2016
20/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   20/09/2016   23/09/2016
20/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   20/09/2016   26/09/2016
20/09/2016   1    4.29   42.39   USA   9053108954   10/10/2016                                                                               US   20/09/2016   24/09/2016
20/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   20/09/2016   22/09/2016
20/09/2016   1    3.85    40.3   USA   9053108954   10/10/2016                                                                               US   20/09/2016   23/09/2016
20/09/2016   1    3.85    40.3   USA   9053108954   10/10/2016                                                                               US   20/09/2016   23/09/2016
20/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   20/09/2016   23/09/2016
20/09/2016   1   14.84    70.3   USA   9053108954   10/10/2016                                                                               US   21/09/2016   26/09/2016
21/09/2016   2   17.14   76.49   USA   9053108954   10/10/2016                                                                               US   21/09/2016   26/09/2016
22/09/2016   1    1.68    31.9   USA   9053108954   10/10/2016                                                                               US   21/09/2016   26/09/2016
23/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1   11.46   63.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   28/09/2016
21/09/2016   1     0.7   27.24   USA   9053108954   10/10/2016                                                                               US   21/09/2016   26/09/2016
22/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
21/09/2016   1    1.69    31.9   USA   9053108954   10/10/2016                                                                               US   21/09/2016   26/09/2016
22/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
22/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
22/09/2016   1   11.14   63.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
22/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
22/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
22/09/2016   1    4.29   42.39   USA   9053108954   10/10/2016                                                                               US   22/09/2016   26/09/2016
23/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1   10.89   62.34   USA   9053108954   10/10/2016                                                                               US   23/09/2016   28/09/2016
23/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   23/09/2016   28/09/2016
23/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   23/09/2016   28/09/2016
23/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   23/09/2016   29/09/2016
23/09/2016   1   11.46   63.34   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   23/09/2016   28/09/2016
23/09/2016   1    4.19   42.39   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1    6.22   49.25   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
23/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   23/09/2016   27/09/2016
26/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1   11.19   63.34   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   26/09/2016   30/09/2016
26/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   26/09/2016   30/09/2016
26/09/2016   1   10.91   62.34   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   26/09/2016   28/09/2016
26/09/2016   2   17.37   76.49   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   3   14.76    70.3   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   3    8.55   57.18   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   26/09/2016   30/09/2016
26/09/2016   1   13.08   67.31   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1    4.08   42.39   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   26/09/2016   29/09/2016
26/09/2016   2   14.87    70.3   USA   9053108954   10/10/2016                                                                               US   26/09/2016   30/09/2016
27/09/2016   1   10.88   62.34   USA   9053108954   10/10/2016                                                                               US   27/09/2016   30/09/2016
27/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US   27/09/2016   30/09/2016
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27/09/2016   1    1.61    31.9   USA   9053108954   10/10/2016                                                                               US   27/09/2016   03/10/2016
27/09/2016   1   10.62   62.34   USA   9053108954   10/10/2016                                                                               US   27/09/2016   01/10/2016
27/09/2016   1   11.19   63.34   USA   9053108954   10/10/2016                                                                               US   27/09/2016   30/09/2016
27/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   27/09/2016   30/09/2016
27/09/2016   1    2.15   34.01   USA   9053108954   10/10/2016                                                                               US   27/09/2016   03/10/2016
29/09/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   29/09/2016   01/10/2016
29/09/2016   3   10.14   61.35   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
28/09/2016   3   12.14   65.32   USA   9053108954   10/10/2016                                                                               US   28/09/2016   03/10/2016
28/09/2016   1    1.68    31.9   USA   9053108954   10/10/2016                                                                               US   28/09/2016   03/10/2016
28/09/2016   1    1.79    31.9   USA   9053108954   10/10/2016                                                                               US   28/09/2016   03/10/2016
29/09/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
29/09/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
29/09/2016   1    2.14   34.01   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
29/09/2016   1     2.2   34.01   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
29/09/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   29/09/2016   03/10/2016
30/09/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   30/09/2016   05/10/2016
30/09/2016   1   10.92   62.34   USA   9053285419   07/11/2016                                                                               US   30/09/2016   04/10/2016
30/09/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   30/09/2016   04/10/2016
30/09/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   30/09/2016   05/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
30/09/2016   1    4.14   42.39   USA   9053285419   07/11/2016                                                                               US   30/09/2016   05/10/2016
30/09/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   30/09/2016   05/10/2016
03/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   03/10/2016   06/10/2016
03/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   03/10/2016   07/10/2016
03/10/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   03/10/2016   07/10/2016
03/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   03/10/2016   07/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   12/10/2016
06/10/2016   2   15.03   71.53   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
03/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   03/10/2016   07/10/2016
03/10/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   03/10/2016   06/10/2016
03/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   03/10/2016   06/10/2016
03/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   03/10/2016   06/10/2016
03/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   03/10/2016   07/10/2016
04/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   04/10/2016   07/10/2016
05/10/2016   1    2.34   34.01   USA   9053285419   07/11/2016                                                                               US   04/10/2016   07/10/2016
05/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   04/10/2016   07/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   10/10/2016
05/10/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   05/10/2016   11/10/2016
05/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   05/10/2016   12/10/2016
05/10/2016   1    1.95    31.9   USA   9053285419   07/11/2016                                                                               US   05/10/2016   11/10/2016
05/10/2016   1    4.68   44.49   USA   9053285419   07/11/2016                                                                               US   05/10/2016   11/10/2016
06/10/2016   1    4.41   42.39   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    4.51   44.49   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    11.5   63.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   2   17.37   76.49   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
06/10/2016   1   11.79   64.33   USA   9053285419   07/11/2016                                                                               US   06/10/2016   12/10/2016
06/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   06/10/2016   11/10/2016
07/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   07/10/2016   11/10/2016
07/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   07/10/2016   12/10/2016
07/10/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   07/10/2016   11/10/2016
07/10/2016   1    4.41   42.39   USA   9053285419   07/11/2016                                                                               US   07/10/2016   11/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
07/10/2016   1   11.14   63.34   USA   9053285419   07/11/2016                                                                               US   07/10/2016   11/10/2016
07/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   10/10/2016   13/10/2016
10/10/2016   1    1.86    31.9   USA   9053285419   07/11/2016                                                                               US   10/10/2016   14/10/2016
10/10/2016   1    15.4   71.53   USA   9053285419   07/11/2016                                                                               US   10/10/2016   12/10/2016
10/10/2016   1    9.02   58.77   USA   9053285419   07/11/2016                                                                               US   10/10/2016   17/10/2016

10/10/2016   1     1.8    31.9   USA   9053285419   07/11/2016                                                                               US   10/10/2016   12/10/2016
11/10/2016   1   13.42   67.31   USA   9053285419   07/11/2016                                                                               US   11/10/2016   15/10/2016
11/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   11/10/2016   13/10/2016
11/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   11/10/2016   14/10/2016
                                                                                           EXHIBIT B
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11/10/2016   1   11.19   63.34   USA   9053285419   07/11/2016                                                                               US   11/10/2016   13/10/2016
11/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   11/10/2016   14/10/2016
11/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   11/10/2016   14/10/2016
11/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   11/10/2016   14/10/2016
11/10/2016   1    2.34   34.01   USA   9053285419   07/11/2016                                                                               US   11/10/2016   13/10/2016
11/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   11/10/2016   14/10/2016
12/10/2016   1     1.8    31.9   USA   9053285419   07/11/2016                                                                               US   12/10/2016   17/10/2016
12/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   12/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
12/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   12/10/2016   15/10/2016
12/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   12/10/2016   15/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   18/10/2016
13/10/2016   1     1.7    31.9   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   2   14.87    70.3   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1    16.1   74.01   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   13.31   67.31   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
13/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   13/10/2016   31/10/2016
13/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   13/10/2016   17/10/2016
14/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   14/10/2016   23/11/2016
14/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   14/10/2016   18/10/2016
14/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   14/10/2016   18/10/2016
14/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   14/10/2016   18/10/2016
14/10/2016   1    4.41   42.39   USA   9053285419   07/11/2016                                                                               US   14/10/2016   18/10/2016
20/10/2016   1   11.14   63.34   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
17/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   17/10/2016   21/10/2016
17/10/2016   2   17.34   76.49   USA   9053285419   07/11/2016                                                                               US   17/10/2016   20/10/2016
17/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   17/10/2016   21/10/2016
17/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   17/10/2016   20/10/2016
17/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   17/10/2016   20/10/2016
18/10/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   18/10/2016   21/10/2016
18/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   18/10/2016   21/10/2016
20/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   19/10/2016   26/10/2016
20/10/2016   1    2.54    36.1   USA   9053285419   07/11/2016                                                                               US   19/10/2016   26/10/2016
19/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   18/10/2016   21/10/2016
21/10/2016   1   14.76    70.3   USA   9053285419   07/11/2016                                                                               US   21/10/2016   24/10/2016
20/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   19/10/2016   24/10/2016
20/10/2016   2   17.49   76.49   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    1.71    31.9   USA   9053285419   07/11/2016                                                                               US   20/10/2016   25/10/2016
20/10/2016   1    1.71    31.9   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    4.26   42.39   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    3.95    40.3   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   2   17.37   76.49   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1   10.05   61.35   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
20/10/2016   1    2.09   34.01   USA   9053285419   07/11/2016                                                                               US   20/10/2016   24/10/2016
21/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   21/10/2016   25/10/2016
21/10/2016   1    2.01   34.01   USA   9053285419   07/11/2016                                                                               US   21/10/2016   26/10/2016
21/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   21/10/2016   25/10/2016
21/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   21/10/2016   25/10/2016
21/10/2016   1   10.58   62.34   USA   9053285419   07/11/2016                                                                               US   21/10/2016   24/10/2016
21/10/2016   1   10.33   61.35   USA   9053285419   07/11/2016                                                                               US   21/10/2016   26/10/2016
21/10/2016   2   17.02   76.49   USA   9053285419   07/11/2016                                                                               US   21/10/2016   25/10/2016
24/10/2016   1    3.38   38.19   USA   9053285419   07/11/2016                                                                               US   24/10/2016   27/10/2016
24/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   24/10/2016   26/10/2016
24/10/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   24/10/2016   28/10/2016
24/10/2016   1    1.61    31.9   USA   9053285419   07/11/2016                                                                               US   24/10/2016   27/10/2016
24/10/2016   1    2.34   34.01   USA   9053285419   07/11/2016                                                                               US   24/10/2016   27/10/2016
24/10/2016   1    4.41   42.39   USA   9053285419   07/11/2016                                                                               US   24/10/2016   12/11/2016
27/10/2016   1    2.34   34.01   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
                                                                                           EXHIBIT B
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25/10/2016   1    1.71    31.9 USA     9053285419   07/11/2016                                                                               US   25/10/2016 27/10/2016

25/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   25/10/2016   31/10/2016
25/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   25/10/2016   28/10/2016
27/10/2016   1   11.46   63.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
26/10/2016   1     1.7    31.9   USA   9053285419   07/11/2016                                                                               US   26/10/2016   01/11/2016
26/10/2016   1    4.29   42.39   USA   9053285419   07/11/2016                                                                               US   26/10/2016   31/10/2016
26/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   26/10/2016   31/10/2016
26/10/2016   1   10.58   62.34   USA   9053285419   07/11/2016                                                                               US   26/10/2016   31/10/2016
27/10/2016   1    1.68    31.9   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1    2.54    36.1   USA   9053285419   07/11/2016                                                                               US   27/10/2016   03/11/2016
27/10/2016   1   13.42   67.31   USA   9053285419   07/11/2016                                                                               US   27/10/2016   31/10/2016
27/10/2016   1    1.71    31.9   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   31/10/2016
27/10/2016   1   11.14   63.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   31/10/2016
27/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   28/10/2016   01/11/2016
27/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   27/10/2016   01/11/2016
27/10/2016   1   11.83   64.33   USA   9053285419   07/11/2016                                                                               US   27/10/2016   31/10/2016
28/10/2016   1   13.08   67.31   USA   9053285419   07/11/2016                                                                               US   28/10/2016   02/11/2016
28/10/2016   1   10.36   61.35   USA   9053285419   07/11/2016                                                                               US   28/10/2016   03/11/2016
28/10/2016   1    1.79    31.9   USA   9053285419   07/11/2016                                                                               US   28/10/2016   02/11/2016
28/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   28/10/2016   01/11/2016
28/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   28/10/2016   01/11/2016
28/10/2016   1    4.41   42.39   USA   9053285419   07/11/2016                                                                               US   28/10/2016   01/11/2016
31/10/2016   1     4.3   42.39   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
03/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
31/10/2016   1    4.08   42.39   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
31/10/2016   1    6.39   49.25   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
31/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016

31/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
31/10/2016   1    2.15   34.01   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   3    7.26   52.42   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
02/11/2016   3    8.55   57.18   USA   9053464323   05/12/2016                                                                               US   02/11/2016   07/11/2016
31/10/2016   1   10.88   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   02/11/2016
31/10/2016   2   14.87    70.3   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
31/10/2016   1   10.92   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
31/10/2016   1   10.62   62.34   USA   9053285419   07/11/2016                                                                               US   31/10/2016   03/11/2016
01/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   01/11/2016   04/11/2016
01/11/2016   1    1.71    31.9   USA   9053464323   05/12/2016                                                                               US   01/11/2016   04/11/2016
01/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   01/11/2016   04/11/2016
01/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   01/11/2016   04/11/2016
02/11/2016   1    3.65    40.3   USA   9053464323   05/12/2016                                                                               US   01/11/2016   07/11/2016
01/11/2016   1    4.29   42.39   USA   9053464323   05/12/2016                                                                               US   01/11/2016   07/11/2016
01/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   01/11/2016   04/11/2016
03/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
02/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   02/11/2016   05/11/2016
03/11/2016   1    4.19   42.39   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
02/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   02/11/2016   07/11/2016
03/11/2016   1    4.29   42.39   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1    2.54    36.1   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1   11.19   63.34   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   03/11/2016   09/11/2016
03/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1    2.15   34.01   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
07/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   07/11/2016   10/11/2016
03/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1   10.05   61.35   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   2   12.82   66.32   USA   9053464323   05/12/2016                                                                               US   03/11/2016   09/11/2016
03/11/2016   1     1.7    31.9   USA   9053464323   05/12/2016                                                                               US   03/11/2016   08/11/2016
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03/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   2   15.23   71.53   USA   9053464323   05/12/2016                                                                               US   03/11/2016   07/11/2016
03/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   03/11/2016   08/11/2016
04/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   04/11/2016   09/11/2016
04/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   04/11/2016   07/11/2016
04/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   04/11/2016   08/11/2016
04/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   04/11/2016   08/11/2016
04/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   04/11/2016   08/11/2016

04/11/2016   1   10.33   61.35   USA   9053464323   05/12/2016                                                                               US   04/11/2016   08/11/2016
04/11/2016   1    1.61    31.9   USA   9053464323   05/12/2016                                                                               US   04/11/2016   09/11/2016
07/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   07/11/2016   10/11/2016
10/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
07/11/2016   1    4.14   42.39   USA   9053464323   05/12/2016                                                                               US   07/11/2016   09/11/2016
07/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   07/11/2016   10/11/2016
07/11/2016   1    1.61    31.9   USA   9053464323   05/12/2016                                                                               US   07/11/2016   14/11/2016
07/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   07/11/2016   10/11/2016
07/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   07/11/2016   10/11/2016
08/11/2016   2   14.87    70.3   USA   9053464323   05/12/2016                                                                               US   08/11/2016   14/11/2016
08/11/2016   2   17.15   76.49   USA   9053464323   05/12/2016                                                                               US   08/11/2016   12/11/2016
08/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   08/11/2016   14/11/2016
08/11/2016   2   14.88    70.3   USA   9053464323   05/12/2016                                                                               US   08/11/2016   12/11/2016
08/11/2016   1    2.25   34.01   USA   9053464323   05/12/2016                                                                               US   08/11/2016   12/11/2016
08/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   08/11/2016   12/11/2016
08/11/2016   1    5.95   47.66   USA   9053464323   05/12/2016                                                                               US   08/11/2016   14/11/2016
08/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   08/11/2016   14/11/2016
08/11/2016   1    2.34   34.01   USA   9053464323   05/12/2016                                                                               US   08/11/2016   14/11/2016
08/11/2016   1    1.79    31.9   USA   9053464323   05/12/2016                                                                               US   08/11/2016   15/11/2016
11/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
10/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   10/11/2016   16/11/2016
10/11/2016   1    6.11   49.25   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
10/11/2016   1    6.11   49.25   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
11/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
10/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   10/11/2016   16/11/2016
10/11/2016   1    2.15   34.01   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
10/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   10/11/2016   17/11/2016
10/11/2016   1    6.22   49.25   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
10/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   10/11/2016   15/11/2016
11/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
11/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   11/11/2016   16/11/2016
11/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
11/11/2016   2   15.42   71.53   USA   9053464323   05/12/2016                                                                               US   11/11/2016   17/11/2016
11/11/2016   1     2.2   34.01   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
11/11/2016   1    1.68    31.9   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
11/11/2016   1    4.41   42.39   USA   9053464323   05/12/2016                                                                               US   11/11/2016   09/12/2016
11/11/2016   1   10.88   62.34   USA   9053464323   05/12/2016                                                                               US   11/11/2016   16/11/2016
11/11/2016   1     2.2   34.01   USA   9053464323   05/12/2016                                                                               US   11/11/2016   23/11/2016
11/11/2016   2   14.87    70.3   USA   9053464323   05/12/2016                                                                               US   11/11/2016   15/11/2016
11/11/2016   1    4.68   44.49   USA   9053464323   05/12/2016                                                                               US   11/11/2016   17/11/2016
15/11/2016   2    26.5   98.75   USA   9053464323   05/12/2016                                                                               US   14/11/2016   21/11/2016
15/11/2016   1   10.33   61.35   USA   9053464323   05/12/2016                                                                               US   14/11/2016   19/11/2016
15/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   14/11/2016   21/11/2016
15/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   14/11/2016   22/11/2016
15/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   14/11/2016   19/11/2016
15/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   14/11/2016   19/11/2016
15/11/2016   1   10.92   62.34   USA   9053464323   05/12/2016                                                                               US   14/11/2016   19/11/2016
15/11/2016   1    2.15   34.01   USA   9053464323   05/12/2016                                                                               US   14/11/2016   21/11/2016
15/11/2016   1    2.15   34.01   USA   9053464323   05/12/2016                                                                               US   14/11/2016   18/11/2016
15/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   15/11/2016   19/11/2016
15/11/2016   2   14.87    70.3   USA   9053464323   05/12/2016                                                                               US   15/11/2016   21/11/2016
15/11/2016   1    2.34   34.01   USA   9053464323   05/12/2016                                                                               US   15/11/2016   21/11/2016
17/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   26/11/2016
17/11/2016   1   10.62   62.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   28/11/2016
16/11/2016   1   13.08   67.31   USA   9053464323   05/12/2016                                                                               US   16/11/2016   18/11/2016
17/11/2016   1    1.71    31.9   USA   9053464323   05/12/2016                                                                               US   16/11/2016   29/11/2016
16/11/2016   1   24.29    93.8   USA   9053464323   05/12/2016                                                                               US   16/11/2016   19/11/2016
17/11/2016   3   10.14   61.35   USA   9053464323   05/12/2016                                                                               US   17/11/2016   28/11/2016
16/11/2016   1    4.08   42.39   USA   9053464323   05/12/2016                                                                               US   16/11/2016   21/11/2016
16/11/2016   1     9.1   58.77   USA   9053464323   05/12/2016                                                                               US   16/11/2016   28/11/2016
17/11/2016   2    6.76   50.83   USA   9053464323   05/12/2016                                                                               US   16/11/2016   28/11/2016
                                                                                           EXHIBIT B
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16/11/2016   1    2.94     36.1   USA   9053464323   05/12/2016                                                                               US   16/11/2016   17/11/2016
17/11/2016   1   14.74     70.3   USA   9053464323   05/12/2016                                                                               US   17/11/2016   29/11/2016
17/11/2016   1   11.19    63.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   26/11/2016
17/11/2016   1    1.79     31.9   USA   9053464323   05/12/2016                                                                               US   17/11/2016   26/11/2016
17/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   28/11/2016
17/11/2016   1   10.88    62.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   26/11/2016
17/11/2016   1   11.19    63.34   USA   9053464323   05/12/2016                                                                               US   17/11/2016   26/11/2016
17/11/2016   2   15.78    72.77   USA   9053464323   05/12/2016                                                                               US   17/11/2016   28/11/2016
18/11/2016   1   10.88    62.34   USA   9053464323   05/12/2016                                                                               US   18/11/2016   25/11/2016
18/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   18/11/2016   25/11/2016
18/11/2016   1    4.08    42.39   USA   9053464323   05/12/2016                                                                               US   18/11/2016   26/11/2016
18/11/2016   1     0.7    27.24   USA   9053464323   05/12/2016                                                                               US   18/11/2016   25/11/2016
18/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   18/11/2016   23/11/2016
18/11/2016   1    2.43    34.01   USA   9053464323   05/12/2016                                                                               US   18/11/2016   25/11/2016
18/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   18/11/2016   25/11/2016
18/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   18/11/2016   28/11/2016
22/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   21/11/2016   28/11/2016
22/11/2016   1    1.79     31.9   USA   9053464323   05/12/2016                                                                               US   21/11/2016   28/11/2016
24/11/2016   1   11.46    63.34   USA   9053464323   05/12/2016                                                                               US   24/11/2016   29/11/2016
22/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   21/11/2016   28/11/2016
22/11/2016   1    4.63    44.49   USA   9053464323   05/12/2016                                                                               US   21/11/2016   26/11/2016
22/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   21/11/2016   28/11/2016
22/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
22/11/2016   1   10.33    61.35   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
22/11/2016   1    1.68     31.9   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
22/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
23/11/2016   1   10.33    61.35   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
22/11/2016   1     2.7     36.1   USA   9053464323   05/12/2016                                                                               US   22/11/2016   28/11/2016
23/11/2016   1     1.7     31.9   USA   9053464323   05/12/2016                                                                               US   23/11/2016   28/11/2016
24/11/2016   1   13.42    67.31   USA   9053464323   05/12/2016                                                                               US   24/11/2016   29/11/2016
24/11/2016   1   11.09    63.34   USA   9053464323   05/12/2016                                                                               US   24/11/2016   30/11/2016
24/11/2016   1    2.15    34.01   USA   9053464323   05/12/2016                                                                               US   24/11/2016   29/11/2016
26/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   25/11/2016   02/12/2016
24/11/2016   1    1.79     31.9   USA   9053464323   05/12/2016                                                                               US   24/11/2016   30/11/2016
24/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   24/11/2016   30/11/2016
28/11/2016   1    4.14    42.39   USA   9053464323   05/12/2016                                                                               US   28/11/2016   01/12/2016
28/11/2016   1   10.62    62.34   USA   9053464323   05/12/2016                                                                               US   28/11/2016   02/12/2016
24/11/2016   1    2.34    34.01   USA   9053464323   05/12/2016                                                                               US   24/11/2016   30/11/2016
24/11/2016   1    2.34    34.01   USA   9053464323   05/12/2016                                                                               US   24/11/2016   30/11/2016
24/11/2016   1    2.05    34.01   USA   9053464323   05/12/2016                                                                               US   24/11/2016   29/11/2016
28/11/2016   1   13.31    67.31   USA   9053464323   05/12/2016                                                                               US   28/11/2016   01/12/2016
25/11/2016   2    6.76    50.83   USA   9053464323   05/12/2016                                                                               US   25/11/2016   02/12/2016
25/11/2016   2    6.89    50.83   USA   9053464323   05/12/2016                                                                               US   25/11/2016   02/12/2016
26/11/2016   1    4.41    42.39   USA   9053464323   05/12/2016                                                                               US   25/11/2016   30/11/2016
26/11/2016   1    3.85     40.3   USA   9053464323   05/12/2016                                                                               US   25/11/2016   03/12/2016
26/11/2016   1   10.88    62.34   USA   9053464323   05/12/2016                                                                               US   25/11/2016   02/12/2016
28/11/2016   1    1.87     31.9   USA   9053464323   05/12/2016                                                                               US   28/11/2016   01/12/2016
28/11/2016   1   10.92    62.34   USA   9053464323   05/12/2016                                                                               US   28/11/2016   03/12/2016
28/11/2016   1   13.05    67.31   USA   9053464323   05/12/2016                                                                               US   28/11/2016   07/12/2016
28/11/2016   1    4.29    42.39   USA   9053464323   05/12/2016                                                                               US   28/11/2016   01/12/2016
29/11/2016   1    0.55    27.24   USA   9053464323   05/12/2016                                                                               US   29/11/2016   05/12/2016
29/11/2016   2   17.34    76.49   USA   9053464323   05/12/2016                                                                               US   29/11/2016   03/12/2016
29/11/2016   1   13.08    67.31   USA   9053464323   05/12/2016                                                                               US   29/11/2016   02/12/2016
30/11/2016   1    1.79     31.9   USA   9053464323   05/12/2016                                                                               US   30/11/2016   06/12/2016
30/11/2016   2   14.87     70.3   USA   9053464323   05/12/2016                                                                               US   30/11/2016   02/12/2016
30/11/2016   2   14.87     70.3   USA   9053464323   05/12/2016                                                                               US   30/11/2016   05/12/2016
30/11/2016   1    2.34    34.01   USA   9053464323   05/12/2016                                                                               US   30/11/2016   05/12/2016
01/12/2016   3   34.82   119.78   USA   9053666929   09/01/2017                                                                               US   01/12/2016   06/12/2016
01/12/2016   1   13.08    67.31   USA   9053666929   09/01/2017                                                                               US   01/12/2016   05/12/2016
01/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   01/12/2016   06/12/2016
01/12/2016   1   11.14    63.34   USA   9053666929   09/01/2017                                                                               US   01/12/2016   05/12/2016
01/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   01/12/2016   07/12/2016
01/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   01/12/2016   06/12/2016
01/12/2016   1   28.31   103.69   USA   9053666929   09/01/2017                                                                               US   01/12/2016   06/12/2016
01/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   01/12/2016   05/12/2016
01/12/2016   1     2.4    34.01   USA   9053666929   09/01/2017                                                                               US   01/12/2016   05/12/2016
02/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   02/12/2016   06/12/2016
02/12/2016   1    4.29    42.39   USA   9053666929   09/01/2017                                                                               US   02/12/2016   06/12/2016
02/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   02/12/2016   06/12/2016
05/12/2016   1   10.88    62.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   08/12/2016
05/12/2016   1   10.89    62.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   08/12/2016
05/12/2016   1    4.41    42.39   USA   9053666929   09/01/2017                                                                               US   05/12/2016   08/12/2016
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05/12/2016   1    2.15   34.01   USA   9053666929   09/01/2017                                                                               US   05/12/2016   12/12/2016
05/12/2016   1    1.68    31.9   USA   9053666929   09/01/2017                                                                               US   05/12/2016   08/12/2016
05/12/2016   1    2.15   34.01   USA   9053666929   09/01/2017                                                                               US   05/12/2016   09/12/2016
05/12/2016   1   10.88   62.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   07/12/2016
05/12/2016   1    1.58    31.9   USA   9053666929   09/01/2017                                                                               US   05/12/2016   09/12/2016
12/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   12/12/2016   19/12/2016
05/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   08/12/2016
05/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   09/12/2016
05/12/2016   1   11.49   63.34   USA   9053666929   09/01/2017                                                                               US   05/12/2016   09/12/2016
05/12/2016   1     0.8   27.24   USA   9053666929   09/01/2017                                                                               US   05/12/2016   07/12/2016
06/12/2016   1   13.73    68.3   USA   9053666929   09/01/2017                                                                               US   06/12/2016   10/12/2016
08/12/2016   1   10.58   62.34   USA   9053666929   09/01/2017                                                                               US   08/12/2016   14/12/2016
08/12/2016   1   10.88   62.34   USA   9053666929   09/01/2017                                                                               US   08/12/2016   13/12/2016
06/12/2016   1    2.34   34.01   USA   9053666929   09/01/2017                                                                               US   06/12/2016   09/12/2016
06/12/2016   1    1.68    31.9   USA   9053666929   09/01/2017                                                                               US   06/12/2016   12/12/2016
06/12/2016   1    2.34   34.01   USA   9053666929   09/01/2017                                                                               US   06/12/2016   14/12/2016
06/12/2016   3   10.14   61.35   USA   9053666929   09/01/2017                                                                               US   06/12/2016   13/12/2016
07/12/2016   3   10.14   61.35   USA   9053666929   09/01/2017                                                                               US   07/12/2016   12/12/2016
06/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   06/12/2016   09/12/2016
06/12/2016   1    2.15   34.01   USA   9053666929   09/01/2017                                                                               US   06/12/2016   09/12/2016
07/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   07/12/2016   12/12/2016
07/12/2016   2   17.37   76.49   USA   9053666929   09/01/2017                                                                               US   07/12/2016   10/12/2016
07/12/2016   2   26.16   98.75   USA   9053666929   09/01/2017                                                                               US   07/12/2016   10/12/2016
07/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   07/12/2016   13/12/2016
07/12/2016   1    4.41   42.39   USA   9053666929   09/01/2017                                                                               US   07/12/2016   13/12/2016
07/12/2016   1    2.15   34.01   USA   9053666929   09/01/2017                                                                               US   07/12/2016   13/12/2016
07/12/2016   1    4.41   42.39   USA   9053666929   09/01/2017                                                                               US   07/12/2016   12/12/2016
08/12/2016   1    2.23   34.01   USA   9053666929   09/01/2017                                                                               US   07/12/2016   12/12/2016
08/12/2016   1    6.42   49.25   USA   9053666929   09/01/2017                                                                               US   08/12/2016   13/12/2016
08/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   08/12/2016   12/12/2016
08/12/2016   1    2.15   34.01   USA   9053666929   09/01/2017                                                                               US   08/12/2016   12/12/2016
08/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   08/12/2016   13/12/2016
09/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   09/12/2016   17/12/2016
08/12/2016   1     2.2   34.01   USA   9053666929   09/01/2017                                                                               US   08/12/2016   14/12/2016
08/12/2016   1    2.34   34.01   USA   9053666929   09/01/2017                                                                               US   08/12/2016   14/12/2016
08/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   08/12/2016   14/12/2016
09/12/2016   2    6.76   50.83   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   2    6.76   50.83   USA   9053666929   09/01/2017                                                                               US   09/12/2016   15/12/2016
08/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   08/12/2016   13/12/2016
09/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   09/12/2016   15/12/2016
09/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   1    4.29   42.39   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   1   10.88   62.34   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   1   10.88   62.34   USA   9053666929   09/01/2017                                                                               US   09/12/2016   15/12/2016
09/12/2016   1    4.41   42.39   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   1    2.54    36.1   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
09/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   09/12/2016   16/12/2016
12/12/2016   1    1.71    31.9   USA   9053666929   09/01/2017                                                                               US   12/12/2016   21/12/2016
12/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   12/12/2016   20/12/2016
12/12/2016   1    4.59   44.49   USA   9053666929   09/01/2017                                                                               US   12/12/2016   21/12/2016
13/12/2016   1    4.29   42.39   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
12/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   12/12/2016   20/12/2016
12/12/2016   1   13.76    68.3   USA   9053666929   09/01/2017                                                                               US   12/12/2016   16/12/2016
12/12/2016   1   10.58   62.34   USA   9053666929   09/01/2017                                                                               US   12/12/2016   16/12/2016
12/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   12/12/2016   16/12/2016
12/12/2016   2   14.87    70.3   USA   9053666929   09/01/2017                                                                               US   12/12/2016   19/12/2016
12/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   12/12/2016   16/12/2016
12/12/2016   1    1.68    31.9   USA   9053666929   09/01/2017                                                                               US   12/12/2016   19/12/2016
12/12/2016   1    2.34   34.01   USA   9053666929   09/01/2017                                                                               US   12/12/2016   16/12/2016
13/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
13/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
13/12/2016   1    2.48   34.01   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
15/12/2016   1   10.62   62.34   USA   9053666929   09/01/2017                                                                               US   15/12/2016   22/12/2016
14/12/2016   1    3.85    40.3   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
13/12/2016   1    3.21   38.19   USA   9053666929   09/01/2017                                                                               US   13/12/2016   19/12/2016
14/12/2016   1    4.41   42.39   USA   9053666929   09/01/2017                                                                               US   14/12/2016   20/12/2016
14/12/2016   1   13.08   67.31   USA   9053666929   09/01/2017                                                                               US   14/12/2016   21/12/2016
15/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   15/12/2016   20/12/2016
14/12/2016   1    1.79    31.9   USA   9053666929   09/01/2017                                                                               US   14/12/2016   20/12/2016
14/12/2016   1   10.33   61.35   USA   9053666929   09/01/2017                                                                               US   14/12/2016   19/12/2016
14/12/2016   1    1.68    31.9   USA   9053666929   09/01/2017                                                                               US   14/12/2016   21/12/2016
14/12/2016   1    4.07   42.39   USA   9053666929   09/01/2017                                                                               US   14/12/2016   20/12/2016
                                                                                           EXHIBIT B
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14/12/2016   1    3.85     40.3   USA   9053666929   09/01/2017                                                                               US   14/12/2016   20/12/2016
15/12/2016   2   14.87     70.3   USA   9053666929   09/01/2017                                                                               US   15/12/2016   22/12/2016
15/12/2016   3   25.84    97.51   USA   9053666929   09/01/2017                                                                               US   15/12/2016   20/12/2016
15/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   15/12/2016   22/12/2016
15/12/2016   2     7.7    54.01   USA   9053666929   09/01/2017                                                                               US   15/12/2016   20/12/2016
15/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   15/12/2016   20/12/2016
15/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
15/12/2016   1    1.79     31.9   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
15/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   15/12/2016   20/12/2016
15/12/2016   1    1.64     31.9   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
15/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
15/12/2016   1    4.29    42.39   USA   9053666929   09/01/2017                                                                               US   15/12/2016   23/12/2016
15/12/2016   1   10.33    61.35   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
15/12/2016   1   10.62    62.34   USA   9053666929   09/01/2017                                                                               US   15/12/2016   22/12/2016
15/12/2016   1   13.08    67.31   USA   9053666929   09/01/2017                                                                               US   15/12/2016   22/12/2016
15/12/2016   1   13.08    67.31   USA   9053666929   09/01/2017                                                                               US   15/12/2016   21/12/2016
16/12/2016   1   13.08    67.31   USA   9053666929   09/01/2017                                                                               US   16/12/2016   21/12/2016
16/12/2016   1   13.08    67.31   USA   9053666929   09/01/2017                                                                               US   16/12/2016   21/12/2016
16/12/2016   2   14.87     70.3   USA   9053666929   09/01/2017                                                                               US   16/12/2016   21/12/2016
05/01/2017   1   10.88    62.34   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   2   17.72    77.72   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   1    6.83    50.83   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   1   10.58    62.34   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   1   11.15    63.34   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
03/01/2017   1    2.43    34.01   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   03/01/2017   09/01/2017
03/01/2017   1   45.41   145.74   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    11.4    63.34   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    1.93     31.9   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    8.05    55.59   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    5.54    47.66   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   03/01/2017   09/01/2017
03/01/2017   1    10.3    61.35   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
03/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   03/01/2017   06/01/2017
04/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   04/01/2017   09/01/2017
04/01/2017   2   15.76    72.77   USA   9053837922   06/02/2017                                                                               US   04/01/2017   07/01/2017
04/01/2017   1     1.7     31.9   USA   9053837922   06/02/2017                                                                               US   04/01/2017   07/01/2017
04/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   04/01/2017   07/01/2017
04/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   04/01/2017   10/01/2017
04/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   04/01/2017   15/02/2017
04/01/2017   1   10.89    62.34   USA   9053837922   06/02/2017                                                                               US   04/01/2017   07/01/2017
04/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   04/01/2017   09/01/2017
04/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   04/01/2017   09/01/2017
05/01/2017   1   10.92    62.34   USA   9053837922   06/02/2017                                                                               US   05/01/2017   11/01/2017
04/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   04/01/2017   09/01/2017
05/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   05/01/2017   10/01/2017
05/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   05/01/2017   13/01/2017
05/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   05/01/2017   11/01/2017
06/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   06/01/2017   11/01/2017
06/01/2017   1   10.88    62.34   USA   9053837922   06/02/2017                                                                               US   06/01/2017   10/01/2017
06/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   06/01/2017   11/01/2017
06/01/2017   1   11.14    63.34   USA   9053837922   06/02/2017                                                                               US   06/01/2017   10/01/2017
06/01/2017   1   13.42    67.31   USA   9053837922   06/02/2017                                                                               US   06/01/2017   11/01/2017
06/01/2017   1   17.19    76.49   USA   9053837922   06/02/2017                                                                               US   06/01/2017   10/01/2017
06/01/2017   1   25.75    97.51   USA   9053837922   06/02/2017                                                                               US   06/01/2017   10/01/2017
06/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   06/01/2017   10/01/2017
06/01/2017   1    7.59    54.01   USA   9053837922   06/02/2017                                                                               US   06/01/2017   11/01/2017
06/01/2017   1    2.52     36.1   USA   9053837922   06/02/2017                                                                               US   06/01/2017   11/01/2017
10/01/2017   1   11.14    63.34   USA   9053837922   06/02/2017                                                                               US   09/01/2017   20/01/2017
09/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   09/01/2017   13/01/2017
09/01/2017   1   11.46    63.34   USA   9053837922   06/02/2017                                                                               US   09/01/2017   12/01/2017
10/01/2017   1   10.88    62.34   USA   9053837922   06/02/2017                                                                               US   09/01/2017   20/01/2017
09/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   09/01/2017   12/01/2017
12/01/2017   1    12.1    65.32   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
10/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   10/01/2017   19/01/2017
10/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   10/01/2017   20/01/2017
10/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   10/01/2017   14/01/2017
10/01/2017   1   13.38    67.31   USA   9053837922   06/02/2017                                                                               US   10/01/2017   19/01/2017
10/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   10/01/2017   24/01/2017
10/01/2017   1   10.92    62.34   USA   9053837922   06/02/2017                                                                               US   10/01/2017   19/01/2017
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12/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   12/01/2017   19/01/2017
11/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   11/01/2017   17/01/2017
11/01/2017   1   10.33    61.35   USA   9053837922   06/02/2017                                                                               US   11/01/2017   17/01/2017
11/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   11/01/2017   17/01/2017
12/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   12/01/2017   06/02/2017
12/01/2017   1   10.29    61.35   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   3   10.14    61.35   USA   9053837922   06/02/2017                                                                               US   11/01/2017   19/01/2017
12/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   12/01/2017   31/01/2017
12/01/2017   1   14.24     69.3   USA   9053837922   06/02/2017                                                                               US   12/01/2017   01/02/2017
12/01/2017   1   20.22     83.9   USA   9053837922   06/02/2017                                                                               US   12/01/2017   19/01/2017
11/01/2017   1     0.7    27.24   USA   9053837922   06/02/2017                                                                               US   11/01/2017   18/01/2017
12/01/2017   1      31   109.87   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   1    2.46    34.01   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   1    5.01    46.07   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   12/01/2017   19/01/2017

12/01/2017   1   10.33    61.35   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   2   17.15    76.49   USA   9053837922   06/02/2017                                                                               US   12/01/2017   19/01/2017
12/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
12/01/2017   3   10.14    61.35   USA   9053837922   06/02/2017                                                                               US   12/01/2017   18/01/2017
13/01/2017   1     1.7     31.9   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1   10.33    61.35   USA   9053837922   06/02/2017                                                                               US   13/01/2017   18/01/2017
13/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1   10.33    61.35   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   13/01/2017   17/01/2017
13/01/2017   1     1.7     31.9   USA   9053837922   06/02/2017                                                                               US   13/01/2017   18/01/2017
13/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   13/01/2017   19/01/2017
16/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   16/01/2017   26/01/2017
17/01/2017   1    6.65    50.83   USA   9053837922   06/02/2017                                                                               US   17/01/2017   28/01/2017
17/01/2017   2   15.37    71.53   USA   9053837922   06/02/2017                                                                               US   17/01/2017   25/01/2017
17/01/2017   1   13.08    67.31   USA   9053837922   06/02/2017                                                                               US   17/01/2017   26/01/2017
18/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   18/01/2017   25/01/2017
18/01/2017   1    4.41    42.39   USA   9053837922   06/02/2017                                                                               US   18/01/2017   26/01/2017
18/01/2017   1   10.62    62.34   USA   9053837922   06/02/2017                                                                               US   18/01/2017   25/01/2017
19/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   19/01/2017   24/01/2017
19/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   19/01/2017   30/01/2017
19/01/2017   1    1.79     31.9   USA   9053837922   06/02/2017                                                                               US   19/01/2017   24/01/2017
20/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   20/01/2017   28/01/2017
23/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   23/01/2017   27/01/2017
23/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   23/01/2017   27/01/2017
23/01/2017   1    4.41    42.39   USA   9053837922   06/02/2017                                                                               US   23/01/2017   27/01/2017
23/01/2017   1     2.4    34.01   USA   9053837922   06/02/2017                                                                               US   23/01/2017   27/01/2017
24/01/2017   1    4.47    42.39   USA   9053837922   06/02/2017                                                                               US   24/01/2017   31/01/2017
24/01/2017   1    2.54     36.1   USA   9053837922   06/02/2017                                                                               US   24/01/2017   27/01/2017
24/01/2017   1    2.58     36.1   USA   9053837922   06/02/2017                                                                               US   24/01/2017   27/01/2017
25/01/2017   1   10.88    62.34   USA   9053837922   06/02/2017                                                                               US   25/01/2017   30/01/2017
25/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   25/01/2017   30/01/2017
25/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   25/01/2017   30/01/2017
25/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   25/01/2017   31/01/2017
26/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   26/01/2017   31/01/2017
26/01/2017   1     2.6     36.1   USA   9053837922   06/02/2017                                                                               US   26/01/2017   01/02/2017
26/01/2017   1    2.94     36.1   USA   9053837922   06/02/2017                                                                               US   26/01/2017   02/02/2017
26/01/2017   1    7.26    52.42   USA   9053837922   06/02/2017                                                                               US   26/01/2017   31/01/2017
27/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   27/01/2017   31/01/2017
27/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   27/01/2017   31/01/2017
27/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   27/01/2017   01/02/2017
30/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   30/01/2017   02/02/2017
30/01/2017   1    1.95     31.9   USA   9053837922   06/02/2017                                                                               US   30/01/2017   01/02/2017
30/01/2017   1    4.29    42.39   USA   9053837922   06/02/2017                                                                               US   30/01/2017   06/02/2017
30/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   30/01/2017   01/02/2017
31/01/2017   1    2.15    34.01   USA   9053837922   06/02/2017                                                                               US   31/01/2017   03/02/2017
31/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   31/01/2017   03/02/2017
31/01/2017   1     2.6     36.1   USA   9053837922   06/02/2017                                                                               US   31/01/2017   06/02/2017
31/01/2017   1    2.34    34.01   USA   9053837922   06/02/2017                                                                               US   31/01/2017   03/02/2017
02/02/2017   1    6.22    49.25   USA   9054015873   06/03/2017                                                                               US   02/02/2017   07/02/2017
02/02/2017   1    1.79     31.9   USA   9054015873   06/03/2017                                                                               US   02/02/2017   07/02/2017
02/02/2017   1    4.29    42.39   USA   9054015873   06/03/2017                                                                               US   02/02/2017   06/02/2017
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06/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   06/02/2017   14/02/2017
06/02/2017   1   0.85   27.24   USA   9054015873   06/03/2017                                                                               US   06/02/2017   14/02/2017
06/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   06/02/2017   15/02/2017
06/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   06/02/2017   14/02/2017
06/02/2017   1   4.35   42.39   USA   9054015873   06/03/2017                                                                               US   06/02/2017   14/02/2017
06/02/2017   1   4.35   42.39   USA   9054015873   06/03/2017                                                                               US   06/02/2017   14/02/2017
07/02/2017   1   2.54    36.1   USA   9054015873   06/03/2017                                                                               US   07/02/2017   10/02/2017
07/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   07/02/2017   13/02/2017
07/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   07/02/2017   10/02/2017
07/02/2017   1   2.34   34.01   USA   9054015873   06/03/2017                                                                               US   07/02/2017   15/02/2017
07/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   07/02/2017   15/02/2017
07/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   07/02/2017   15/02/2017
07/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   07/02/2017   10/02/2017
08/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   08/02/2017   14/02/2017
08/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   08/02/2017   14/02/2017
08/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   08/02/2017   14/02/2017
09/02/2017   1   2.48   34.01   USA   9054015873   06/03/2017                                                                               US   09/02/2017   13/02/2017
09/02/2017   1   2.15   34.01   USA   9054015873   06/03/2017                                                                               US   09/02/2017   25/02/2017
10/02/2017   1   4.35   42.39   USA   9054015873   06/03/2017                                                                               US   10/02/2017   14/02/2017
10/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   10/02/2017   13/02/2017
10/02/2017   1   1.71    31.9   USA   9054015873   06/03/2017                                                                               US   10/02/2017   14/02/2017
14/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   13/02/2017   17/02/2017
14/02/2017   1   2.15   34.01   USA   9054015873   06/03/2017                                                                               US   13/02/2017   17/02/2017
15/02/2017   1   6.22   49.25   USA   9054015873   06/03/2017                                                                               US   14/02/2017   17/02/2017
15/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   15/02/2017   22/02/2017
15/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   15/02/2017   18/02/2017
16/02/2017   1   4.63   44.49   USA   9054015873   06/03/2017                                                                               US   16/02/2017   21/02/2017
16/02/2017   1   2.15   34.01   USA   9054015873   06/03/2017                                                                               US   16/02/2017   21/02/2017
17/02/2017   1    2.4   34.01   USA   9054015873   06/03/2017                                                                               US   17/02/2017   23/02/2017
17/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   17/02/2017   27/02/2017
20/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   20/02/2017   23/02/2017
21/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   21/02/2017   24/02/2017
22/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   22/02/2017   27/02/2017
22/02/2017   3   6.47   49.25   USA   9054015873   06/03/2017                                                                               US   22/02/2017   25/02/2017
22/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   22/02/2017   28/02/2017
22/02/2017   1   4.07   42.39   USA   9054015873   06/03/2017                                                                               US   22/02/2017   27/02/2017
23/02/2017   1   1.71    31.9   USA   9054015873   06/03/2017                                                                               US   23/02/2017   27/02/2017
23/02/2017   1   4.41   42.39   USA   9054015873   06/03/2017                                                                               US   23/02/2017   28/02/2017
23/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   23/02/2017   27/02/2017
23/02/2017   1   1.68    31.9   USA   9054015873   06/03/2017                                                                               US   23/02/2017   28/02/2017
24/02/2017   1   2.15   34.01   USA   9054015873   06/03/2017                                                                               US   24/02/2017   28/02/2017
24/02/2017   1   2.34   34.01   USA   9054015873   06/03/2017                                                                               US   24/02/2017   01/03/2017
24/02/2017   2   4.49   44.49   USA   9054015873   06/03/2017                                                                               US   24/02/2017   01/03/2017
27/02/2017   1   1.71    31.9   USA   9054015873   06/03/2017                                                                               US   27/02/2017   02/03/2017
27/02/2017   1   1.79    31.9   USA   9054015873   06/03/2017                                                                               US   27/02/2017   02/03/2017
01/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   28/02/2017   01/03/2017
01/03/2017   1   4.08   42.39   USA   9054228292   10/04/2017                                                                               US   01/03/2017   06/03/2017
01/03/2017   1   4.08   42.39   USA   9054228292   10/04/2017                                                                               US   01/03/2017   04/03/2017
01/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   01/03/2017   06/03/2017
02/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   02/03/2017   08/03/2017
03/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   03/03/2017   07/03/2017
03/03/2017   1   2.43   34.01   USA   9054228292   10/04/2017                                                                               US   03/03/2017   08/03/2017
06/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   06/03/2017   09/03/2017
06/03/2017   1   4.14   42.39   USA   9054228292   10/04/2017                                                                               US   06/03/2017   09/03/2017
06/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   06/03/2017   09/03/2017
06/03/2017   1   4.47   42.39   USA   9054228292   10/04/2017                                                                               US   06/03/2017   08/03/2017
07/03/2017   1   2.54    36.1   USA   9054228292   10/04/2017                                                                               US   07/03/2017   10/03/2017
08/03/2017   1   1.71    31.9   USA   9054228292   10/04/2017                                                                               US   08/03/2017   13/03/2017
09/03/2017   1   4.08   42.39   USA   9054228292   10/04/2017                                                                               US   08/03/2017   13/03/2017
09/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   09/03/2017   13/03/2017
10/03/2017   1    2.4   34.01   USA   9054228292   10/04/2017                                                                               US   10/03/2017   15/03/2017
13/03/2017   1   1.68    31.9   USA   9054228292   10/04/2017                                                                               US   13/03/2017   17/03/2017
13/03/2017   1   2.34   34.01   USA   9054228292   10/04/2017                                                                               US   13/03/2017   17/03/2017
13/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   13/03/2017   21/03/2017
13/03/2017   1   1.68    31.9   USA   9054228292   10/04/2017                                                                               US   13/03/2017   20/03/2017
13/03/2017   1   1.68    31.9   USA   9054228292   10/04/2017                                                                               US   13/03/2017   17/03/2017
13/03/2017   1   2.34   34.01   USA   9054228292   10/04/2017                                                                               US   13/03/2017   20/03/2017
14/03/2017   1   2.34   34.01   USA   9054228292   10/04/2017                                                                               US   14/03/2017   21/03/2017
15/03/2017   1    2.4   34.01   USA   9054228292   10/04/2017                                                                               US   14/03/2017   21/03/2017
15/03/2017   1   2.34   34.01   USA   9054228292   10/04/2017                                                                               US   14/03/2017   21/03/2017
14/03/2017   1   1.79    31.9   USA   9054228292   10/04/2017                                                                               US   14/03/2017   22/03/2017
15/03/2017   1   4.29   42.39   USA   9054228292   10/04/2017                                                                               US   16/03/2017   22/03/2017
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15/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   16/03/2017   22/03/2017
16/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   16/03/2017   22/03/2017
16/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   16/03/2017   21/03/2017
16/03/2017   2    8.43   55.59   USA   9054228292   10/04/2017                                                                               US   16/03/2017   20/03/2017
16/03/2017   1    1.68    31.9   USA   9054228292   10/04/2017                                                                               US   16/03/2017   21/03/2017
17/03/2017   1    1.68    31.9   USA   9054228292   10/04/2017                                                                               US   17/03/2017   23/03/2017
21/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   20/03/2017   24/03/2017
20/03/2017   1    1.15   29.58   USA   9054228292   10/04/2017                                                                               US   20/03/2017   24/03/2017
22/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   22/03/2017   25/03/2017
22/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   22/03/2017   28/03/2017
22/03/2017   1    3.94    40.3   USA   9054228292   10/04/2017                                                                               US   22/03/2017   27/03/2017
22/03/2017   2    4.49   44.49   USA   9054228292   10/04/2017                                                                               US   22/03/2017   25/03/2017
24/03/2017   2     3.5   44.49   USA   9054228292   10/04/2017                                                                               US   23/03/2017   30/03/2017
23/03/2017   1    2.15   34.01   USA   9054228292   10/04/2017                                                                               US   23/03/2017   04/04/2017
23/03/2017   1    2.15   34.01   USA   9054228292   10/04/2017                                                                               US   23/03/2017   04/04/2017
23/03/2017   1    2.15   34.01   USA   9054228292   10/04/2017                                                                               US   23/03/2017   30/03/2017
24/03/2017   1    0.55   27.24   USA   9054228292   10/04/2017                                                                               US   24/03/2017   30/03/2017
24/03/2017   1    6.22   49.25   USA   9054228292   10/04/2017                                                                               US   24/03/2017   30/03/2017
27/03/2017   1    4.35   42.39   USA   9054228292   10/04/2017                                                                               US   27/03/2017   30/03/2017
27/03/2017   1    4.47   42.39   USA   9054228292   10/04/2017                                                                               US   27/03/2017   30/03/2017
28/03/2017   1    2.34   34.01   USA   9054228292   10/04/2017                                                                               US   28/03/2017   31/03/2017
28/03/2017   1     1.7    31.9   USA   9054228292   10/04/2017                                                                               US   28/03/2017   03/04/2017
28/03/2017   1    1.79    31.9   USA   9054228292   10/04/2017                                                                               US   28/03/2017   31/03/2017
31/03/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   31/03/2017   04/04/2017
31/03/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   31/03/2017   04/04/2017
31/03/2017   1    6.22   49.25   USA   9054393204   08/05/2017                                                                               US   31/03/2017   04/04/2017
31/03/2017   1    6.22   49.25   USA   9054393204   08/05/2017                                                                               US   31/03/2017   04/04/2017
31/03/2017   1    4.35   42.39   USA   9054393204   08/05/2017                                                                               US   31/03/2017   04/04/2017
03/04/2017   1    4.14   42.39   USA   9054393204   08/05/2017                                                                               US   03/04/2017   05/04/2017
04/04/2017   1    3.94    40.3   USA   9054393204   08/05/2017                                                                               US   04/04/2017   10/04/2017
04/04/2017   1    1.65    31.9   USA   9054393204   08/05/2017                                                                               US   04/04/2017   06/04/2017
04/04/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   04/04/2017   07/04/2017
04/04/2017   2   12.44   65.32   USA   9054393204   08/05/2017                                                                               US   04/04/2017   07/04/2017
05/04/2017   1    2.15   34.01   USA   9054393204   08/05/2017                                                                               US   05/04/2017   11/04/2017
05/04/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   05/04/2017   10/04/2017
05/04/2017   1    1.89    31.9   USA   9054393204   08/05/2017                                                                               US   05/04/2017   13/04/2017
05/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   05/04/2017   12/04/2017
06/04/2017   1    1.61    31.9   USA   9054393204   08/05/2017                                                                               US   06/04/2017   18/04/2017
06/04/2017   1    4.14   42.39   USA   9054393204   08/05/2017                                                                               US   06/04/2017   10/04/2017
06/04/2017   1    1.61    31.9   USA   9054393204   08/05/2017                                                                               US   06/04/2017   11/04/2017
07/04/2017   1     2.2   34.01   USA   9054393204   08/05/2017                                                                               US   07/04/2017   12/04/2017
07/04/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   07/04/2017   12/04/2017
07/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   07/04/2017   11/04/2017
10/04/2017   1    1.68    31.9   USA   9054393204   08/05/2017                                                                               US   10/04/2017   13/04/2017
10/04/2017   1    1.61    31.9   USA   9054393204   08/05/2017                                                                               US   10/04/2017   14/04/2017
12/04/2017   2   15.42   71.53   USA   9054393204   08/05/2017                                                                               US   12/04/2017   19/04/2017
11/04/2017   1     1.7    31.9   USA   9054393204   08/05/2017                                                                               US   11/04/2017   18/04/2017
12/04/2017   1    1.77    31.9   USA   9054393204   08/05/2017                                                                               US   12/04/2017   17/04/2017
13/04/2017   2   15.57   72.77   USA   9054393204   08/05/2017                                                                               US   13/04/2017   18/04/2017
18/04/2017   1    4.41   42.39   USA   9054393204   08/05/2017                                                                               US   18/04/2017   24/04/2017
18/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   18/04/2017   22/04/2017
18/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   18/04/2017   22/04/2017
18/04/2017   1    2.91    36.1   USA   9054393204   08/05/2017                                                                               US   18/04/2017   21/04/2017
20/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   20/04/2017   25/04/2017
20/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   20/04/2017   25/04/2017
20/04/2017   1    4.51   44.49   USA   9054393204   08/05/2017                                                                               US   20/04/2017   25/04/2017
24/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   21/04/2017   29/04/2017
24/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   21/04/2017   28/04/2017
25/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   25/04/2017   01/05/2017
25/04/2017   1    2.15   34.01   USA   9054393204   08/05/2017                                                                               US   25/04/2017   01/05/2017
26/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   26/04/2017   02/05/2017
26/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   26/04/2017   01/05/2017
26/04/2017   1    1.71    31.9   USA   9054393204   08/05/2017                                                                               US   26/04/2017   02/05/2017
26/04/2017   1    2.15   34.01   USA   9054393204   08/05/2017                                                                               US   26/04/2017   01/05/2017
26/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   26/04/2017   02/05/2017
26/04/2017   1    2.15   34.01   USA   9054393204   08/05/2017                                                                               US   26/04/2017   29/04/2017
26/04/2017   1    2.15   34.01   USA   9054393204   08/05/2017                                                                               US   26/04/2017   01/05/2017
27/04/2017   3   12.45   65.32   USA   9054393204   08/05/2017                                                                               US   27/04/2017   02/05/2017
27/04/2017   2    6.63   50.83   USA   9054393204   08/05/2017                                                                               US   27/04/2017   02/05/2017
27/04/2017   1    1.79    31.9   USA   9054393204   08/05/2017                                                                               US   27/04/2017   04/05/2017
28/04/2017   1    2.34   34.01   USA   9054393204   08/05/2017                                                                               US   28/04/2017   03/05/2017
28/04/2017   2    8.28   55.59   USA   9054393204   08/05/2017                                                                               US   28/04/2017   02/05/2017
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28/04/2017   1   1.79    31.9   USA   9054393204   08/05/2017                                                                                US   28/04/2017   02/05/2017
28/04/2017   1   1.79    31.9   USA   9054393204   08/05/2017                                                                                US   28/04/2017   02/05/2017
02/05/2017   1   2.34   34.01   USA   9054564056   05/06/2017                                                                                US   02/05/2017   08/05/2017
02/05/2017   1   4.29   42.39   USA   9054564056   05/06/2017                                                                                US   02/05/2017   09/05/2017




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    In regards to REQUEST NO. 1, REQUEST NO. 2, and REQUEST NO. 3
    TYPE: General account information
    DATE: March 20, 2017

     Bitrix24 cloud account URL amazonmedica.bitrix24.com
    Date of registration 01/13/2016 04:46:25
    Confirmed via email - YES
    Last signed 18 March 2017 20:35:22
    Last Activity 18 March 2017 22:28:55
    Account active - V
    Language en
    Email david@amazonmedica.com
    Current Email admin@amedicas.com
    Email from order administrator@amazonmedica.com
    Contact person Amazon Medica Inc. (David Wagenleiter)
    Current contact person Amedicas.com (Max Steinberg)
    External code is 1759281
    Commercial user - YES
    Bitrix24 Subscription - Professional
    Subscription end date 22 March 2017
    Intranet users 8
    Extranet users 5
    Size 16711.81 MB
    Extra online storage space - NO
    Additional Users - NO
    Telephony SIP Connector subscription - NO
    Multiple Credit Cards - Not Allowed
    Multiple PayPal - Not Allowed
    3DSecure is required to purchase Telephony Credits - YES
    Telephony Credits daily limit is set - NO
    Telephony Credits limit on purchases is set - NO
    IP upon registration 210.19.251.195
    Country of registration MY




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